                                                                                                                   Case 22-17842-PDR                                                   Doc 590                       Filed 12/30/22                              Page 1 of 14
                                                                                                                                                                                       Claims Register as of 12/30/2022
                                                                                                                                                                                                 Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                 General                                           Administrative
  No.                            Name                                              Attention                                      Address 1                                Address 2                     Address 3              City          State     Zip       Country   Date Filed   Amount Class(es)          Total Amount       Unsecured             Secured         Priority       Priority
   1   XPO Logistics Freight, Inc.                           Attn: Bankruptcy Dept                                 9151 Boulevard 26                          Bldg A                                                    North Richland Hills TX     76180                    10/13/2022 General Unsecured                $14,879.18        $14,879.18
       Varni Brothers Corporation [VBC Bottling Dba Seven-Up
   2   Bottling Company]                                     Attn: Ray Morales                                     215 Hosmer Ave                                                                                       Modesto                CA   95351                   10/17/2022 General Unsecured               $873,125.12          $873,125.12
   3   Canon Financial Services, Inc.                                                                              158 Gaither Dr                                                                                       Mount Laurel           NJ   08054                   10/18/2022 General Unsecured               $177,737.75          $177,737.75
                                                                                                                                                                                                                                                                                       General Unsecured
   4    Iowa Department of Revenue                                   Office of the Attorney General of Iowa        Attn: Bankruptcy Unit                      1305 E Walnut                                             Des Moines             IA   50319                   10/18/2022 Priority                            $832.69               $17.58                       $815.11
   6    XPO Logistics Freight, Inc.                                  Attn: Bankruptcy Dept                         9151 Boulevard 26                          Bldg A                                                    North Richland Hills   TX   76180                   10/18/2022 General Unsecured                $14,879.18           $14,879.18
   7    MMR Strategy Group                                           Attn: Cheryl Jaffe                            16501 Ventura Blvd                         Suite 601                                                 Encino                 CA   91367                   10/20/2022 General Unsecured                $17,500.00           $17,500.00
   8    Steven Douglas Associates LLC                                Attn: Shari Gottlieb                          1301 International Pkwy                    Suite 510                                                 Sunrise                FL   33323                   10/20/2022 General Unsecured               $472,907.68          $472,907.68
   9    Werner Enterprises Inc                                                                                     39365 Treasury Crt                                                                                   Chicago                IL   60694                   10/20/2022 General Unsecured                $46,002.00           $46,002.00
                                                                                                                                                                                                                                                                                       General Unsecured
   10   Orange Bang, Inc.                                            Attn: Richard Stein                           13115 Telfair Ave                                                                                    Sylmar                 CA   91342                   10/25/2022 Administrative Priority      $87,500,000.00       $87,500,000.00                                     Undetermined
   12   Zurich American Insurance                                                                                  PO Box 68549                                                                                         Schaumburg             IL   60196                   10/24/2022 General Unsecured                     $1.00                $1.00
                                                                                                                                                                                                                                                                                       General Unsecured
   13   Scotlynn USA Division Inc.                                   Attn: Nicole Tracey                           9597 Gulf Research Ln                                                                                Fort Myers             FL   33912-4552              10/24/2022 Administrative Priority         $185,206.00           $92,603.00                                       $92,603.00
   14   Atlas Copco Compressors LLC                                                                                48430 Milmont Dr                                                                                     Fremont                CA   94538                   10/24/2022 General Unsecured                 $7,081.53            $7,081.53
   15   The Hamilton Group (Delaware), Inc.                          c/o Ullman & Ullman PA                        Attn: Michael W. Ullman & Jared A. Ullman 2500 N Military Trail          Suite 100                   Boca Raton             FL   33431                   10/24/2022 General Unsecured               $189,784.35          $189,784.35
        Mitsubishi HC Capital America, Inc. [Hitachi Capital
   17   America Corp.]                                               c/o Kye Law Group, P.C.                       201 Old Country Rd                         Suite 120                                                 Melville               NY   11747                   10/25/2022 Secured                       $2,410,772.40                         $2,410,772.40
   18   Skip Shapiro Enterprises, LLC                                Attn: Skip Shapiro                            318 Hawthorn St                                                                                      New Bedford            MA   02740                   10/25/2022 General Unsecured               $193,450.40          $193,450.40
                                                                                                                                                                                                                                                                                       General Unsecured
   19   WA Department of Revenue                                     Attn: Andrew Garrett                          2101 4th Ave                               Suite 1400                                                Seattle                WA   98121                   10/25/2022 Priority                        $286,995.77          $102,579.05                    $184,416.72
   20   Peter Kent Consulting, LLC                                   Attn: Peter Kent                              404 Locust St                                                                                        Denver                 CO   80220                   10/25/2022 General Unsecured                $48,939.00           $48,939.00
   21   Averell Luedecker                                                                                          22 Allison Park                                                                                      Brewer                 ME   04412                   10/25/2022 General Unsecured             $2,314,688.21        $2,314,688.21
   22   Presence From Innovation, LLC                                Attn: Jennifer McArtor                        4847 Park 370 Blvd                                                                                   Hazelwood              MO   63042                   10/26/2022 General Unsecured                $79,127.22           $79,127.22
   23   Mike Meserve                                                                                               116 Wallace Ave                                                                                      South Portland         ME   04106                   10/26/2022 General Unsecured                $15,795.00           $15,795.00
   24   AMMS, Inc.                                                   Attn: Amy McLaughlin                          16043 Agincourt Dr                                                                                   Huntersville           NC   28078                   10/26/2022 General Unsecured                $22,440.00           $22,440.00
   25   Stephen Miller                                               Attn: David Moritz                            15431 SW 14th St                                                                                     Davie                  FL   33326                   10/26/2022 General Unsecured                $50,927.39           $50,927.39
   26   American International Foods, Inc.                           Attn: Scott Goldberg                          8066 Fulton St E                                                                                     Ada                    MI   49301                   10/26/2022 General Unsecured               $134,989.69          $134,989.69
   27   Barrington Nutritionals                                      Attn: Cathy Annattone                         500 Mamaroneck Ave                                                                                   Harrison               NY   10528                   10/26/2022 General Unsecured                   $974.55              $974.55
                                                                                                                                                                                                                                                                                       General Unsecured
   29   Monster Energy Company                                       Attn: Aaron Sonnhalter                        1 Monster Way                                                                                        Corona                 CA   92879                   10/26/2022 Administrative Priority     $389,739,257.35      $389,739,257.35                                     Undetermined
   30   The American Bottling Company                                Attn: Russ Falconer                           2001 Ross Ave                              Suite 2100                                                Dallas                 TX   75201                   10/26/2022 General Unsecured           $225,100,000.00    225100000 plus ICF
   37   Veritext, LLC [Veritext Legal Solutions]                     Attn: Judith Kunreuther                       290 W Mt. Pleasant Ave                     Suite 3200                                                Livingston             NJ   07039                   10/27/2022 General Unsecured                $23,620.66           $23,620.66
   38   Pepsi-Cola Bottling Co. of Luverne, Inc.                     Attn: Andrew Smith                            PO Box 226                                                                                           Luverne                AL   36049                   10/27/2022 General Unsecured                 $5,952.00            $5,952.00
   39   Shanghai Freemen Americas LLC                                                                              2035 RT 27                                 Suite 3005                                                Edison                 NJ   08817                   10/28/2022 General Unsecured               $609,924.00          $609,924.00
   40   American Express National Bank                               c/o Becket and Lee LLP                        PO Box 3001                                                                                          Malvern                PA   19355-0701              10/28/2022 General Unsecured                    $84.99               $84.99
   41   The Hamilton Group (Delaware), Inc.                          c/o Ullman & Ullman PA                        Attn: Michael Ullman                       2500 N Military Trail         Suite 100                   Boca Raton             FL   33431                   10/28/2022 General Unsecured               $189,784.35          $189,784.35
   42   A to Z Scales and Calibration LLC                            Attn: Tom Stelzer                             3515 North 34th Place                                                                                Phoenix                AZ   85018                   10/30/2022 Priority                          $6,206.49                                           $6,206.49
   43   Twin City Security                                           Attn: Accounting                              105 S Garfield St                          Suite 100                                                 Cambridge              MN   55008                   10/31/2022 General Unsecured                $44,866.23           $44,866.23
   44   Environmental Marketing Services                             Attn: Coral Shively                           107 Wall St                                Suite 1                                                   Clemson                SC   29631                   11/01/2022 General Unsecured                   $414.00              $414.00
   45   Fintech [STX Business Solutions]                             Attn: David Sewell                            3109 W Dr Martin Luther King Jr Blvd       Suite 200                                                 Tampa                  FL   33607-6260              11/01/2022 General Unsecured               $114,000.00          $114,000.00
   46   Assemblers Inc.                                              Attn: Scott Clary                             2850 W Columbus Ave                                                                                  Chiago                 IL   60652                   11/01/2022 General Unsecured               $228,035.84          $228,035.84
   47   Aesus Packaging Systems Inc.                                 Attn: Nicola Virgilio and Samantha Lewis      188 Oneida                                                                                           Pointe-Claire          QC   H9R 1A8    Canada       11/01/2022 General Unsecured                $31,514.75           $31,514.75
   48   Cascade Columbia Distribution Company                        Attn: Kyle Code                               6900 Fox Ave South                                                                                   Seattle                WA   98108                   11/01/2022 General Unsecured                $14,394.19           $14,394.19
   49   Instrumentation and Controls                                                                               6829 W Frye Rd                                                                                       Chandler               AZ   85226-3307              10/31/2022 General Unsecured                 $2,988.79            $2,988.79
   50   The Hamilton Group (Delaware) Inc.                           c/o Ullman & Ullman PA                        Attn: Michael W. Ullman                    2500 N Military Trail         Suite 100                   Boca Raton             FL   33431                   10/31/2022 General Unsecured               $189,784.35          $189,784.35
   51   Resource Label Group, LLC                                    Accounting                                    13260 Moore St                                                                                       Cerritos               CA   90703                   10/31/2022 General Unsecured               $145,337.23          $145,337.23
   52   Green Wave Ingredients, Inc.                                                                               13875 Cerritos Corporate Dr                Suite A                                                   Cerritos               CA   90703                   11/01/2022 General Unsecured             $1,358,520.12        $1,358,520.12
   53   Casey's General Stores                                       Attn: Legal Department                        1 SE Convenience Blvd                                                                                Ankeny                 IA   50021                   11/02/2022 General Unsecured                $77,107.46           $77,107.46
   55   Knight Transportation Services, Inc.                         Attn: Trisha Lucci                            20002 N 19th Ave                                                                                     Phoenix                AZ   85027-4250              11/03/2022 General Unsecured                $99,972.00           $99,972.00
   58   Milk Specialties                                             c/o Coface North America Insurance Company    Attn: Amy Schmidt                          650 College Road E            Suite 2005                  Princeton              NJ   08540                   11/03/2022 General Unsecured               $102,765.00          $102,765.00
   59   KJ Can (Singapore) Pte. Ltd.                                 c/o Squire Patton Boggs (US) LLP              Attn: Kelly Singer                         2325 E Camelback Rd           Suite 700                   Phoenix                AZ   85016                   11/03/2022 General Unsecured             $2,598,161.51        $2,598,161.51
   60   Datasite LLC [Merrill Communications LLC]                    Attn: Leif Simpson                            The Baker Center                           733 Marquette Ave             Suite 600                   Minneapolis            MN   55402                   11/03/2022 General Unsecured                   $686.87              $686.87
   61   Diversified Label Images, Inc. [DLI]                         Attn: Gregory Boggis                          PO Box 101269                                                                                        Irondale               AL   35210                   11/03/2022 General Unsecured                $14,491.93           $14,491.93
   62   365 Mechanical, LLC                                                                                        1817 S Horne                               Suite 10                                                  Mesa                   AZ   85204-6526              11/03/2022 General Unsecured                $17,471.72           $17,471.72
   63   Rosenberg Consulting Services, Inc. [RCS]                    c/o Kohner, Mann & Kailas, S.C.               Attn: Samuel C. Wisotzkey                  4650 N Port Washington Rd.                                Milwaukee              WI   53212                   11/04/2022 General Unsecured               $622,017.74          $622,017.74
   64   American Express National Bank                               c/o Becket and Lee LLP                        PO Box 3001                                                                                          Malvern                PA   19355-0701              11/04/2022 General Unsecured                $68,387.80           $68,387.80
   66   State of Minnesota, Department of Revenue                                                                  PO Box 64447 - BKY                                                                                   St Paul                MN   55164-0447              11/07/2022 Priority                          $1,746.00                                           $1,746.00

   67   Organic Bottle Decorating Company dba Zion Packaging         Attn: Gary Martin                             575 Alcoa Cir Suite B                                                                                Corona                 CA   92878-9203              11/07/2022   General Unsecured              $30,198.96           $30,198.96
   68   AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                        PO Box 3001                                                                                          Malvern                PA   19355-0701              11/08/2022   General Unsecured             $122,439.17          $122,439.17
   69   AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                        PO Box 3001                                                                                          Malvern                PA   19355-0701              11/08/2022   General Unsecured              $17,246.14           $17,246.14
   70   Kuckelman Torline Kirkland, Inc. [KTK]                       Attn: Michael T Crabb                         10740 Nall Ave                             Suite 250                                                 Overland Park          KS   66211                   11/08/2022   General Unsecured             $129,188.45          $129,188.45
   71   Moore Rabinowitz Law, P.A.                                   Attn: Adam Rabinowitz, Esquire                1776 N Pine Island Rd                      Suite 102                                                 Plantation             FL   33322                   11/08/2022   General Unsecured              $19,815.50           $19,815.50
   72   White & Amundson, APC                                        Attn: Daniel M. White                         402 W Broadway                             Suite 1140                                                San Diego              CA   92101                   11/08/2022   General Unsecured              $51,430.95           $51,430.95
   73   White & Amundson, APC                                        Attn: Daniel Macy White                       402 W Broadway                             Suite 1140                                                San Diego              CA   92101                   11/08/2022   General Unsecured               $5,507.62            $5,507.62
   74   White & Amundson, APC                                        Attn: Daniel Macy White                       402 W Broadway                             Suite 1140                                                San Diego              CA   92101                   11/08/2022   General Unsecured               $9,966.28            $9,966.28
   75   Green Wave Ingredients, Inc.                                                                               13875 Cerritos Corporate Dr                Suite A                                                   Cerritos               CA   90703                   10/18/2022   General Unsecured           $1,358,520.12        $1,358,520.12
                                                                                                                                                                                                                                                                                         General Unsecured
   76   Staples, Inc                                                 Attn: Tom Riggleman                           7 Technology Cir                                                                                     Columbia               SC   29203                   10/18/2022   Administrative Priority        $13,395.28           $13,080.75                                          $314.53
                                                                                                                                                                                                                                                                                         General Unsecured
   77   Uline                                                                                                      12575 Uline Dr                                                                                       Pleasant Prairie       WI   53158                   10/25/2022   Administrative Priority        $31,164.24           $26,700.91                                        $4,463.33
                                                                                                                                                                                                                                                                                         General Unsecured
                                                                                                                                                                                                                                                                                         Secured
   78   W.W. Grainger, Inc                                                                                         401 S Wright Rd                                                                                      Janesville             WI   53546                   10/25/2022   Administrative Priority        $54,611.18           $23,929.91      $20,533.30                       $10,147.97
   79   Total Compliance Network, Inc. TCN                           Attn: Morgan T Silver                         5646 West Atlantic Blvd                                                                              Margate                FL   33063                   11/08/2022   General Unsecured                 $300.00              $300.00
   80   Marriott Riverside at the Convention Center                  Attn: Alvaro Fraile                           Azul Hospitality Group                     800 W Ivy St                                              San Diego              CA   92101                   11/08/2022   General Unsecured             $190,355.33          $190,355.33
   81   AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                        PO Box 3001                                                                                          Malvern                PA   19355-0701              11/09/2022   General Unsecured              $45,876.78           $45,876.78
   82   Doehler USA Inc.                                             c/o Coface North America Insurance Company    Attn: Amy Schmidt                          650 College Road E            Suite 2005                  Princeton              NJ   08540                   11/09/2022   General Unsecured          $13,357,532.27       $13,357,532.27
   83   North Star Marketing, Inc                                    Attn: Sam Zerilli                             1580 Wilderness Trail                                                                                Eagle River            WI   54521                   11/09/2022   General Unsecured              $18,508.54           $18,508.54
   84   IBT West, LLC dba Magnum Industrial Distributors             Attn: John Kelly                              4203 W Adams St                                                                                      Phoenix                AZ   85009                   11/09/2022   General Unsecured              $28,143.53           $28,143.53
   85   Extreme Process Solutions, LLC                               Attn: Chris Mills                             5030 SW 29th Ave                                                                                     Fort Lauderdale        FL   33312                   11/09/2022   General Unsecured               $2,278.00            $2,278.00
        Peter Fischer, individually, and on behalf of a nationwide
   86   class of similarly-situated consumers                        c/o Harvath Law Group, LLC                    Attn: Daniel Harvath, Esq.                 75 W Lockwood                 Suite 1                     Webster Groves         MO   63119                   11/09/2022 General Unsecured           $401,000,000.00      $401,000,000.00
        Brendan Abbott, individually and on behalf of a
   87   nationwide class of similarly-situated consumers             c/o Harvath Law Group, LLC                    Attn: Daniel Harvath                       75 W Lockwood                 Suite 1                     Webster Groves         MO   63119                   11/09/2022   General Unsecured         $173,000,000.00      $173,000,000.00
   88   Broward County [Broward County Tax Collector]                c/o Records, Taxes & Treasury                 Attn: Bankruptcy Section                   115 S Andrews Ave             Suite A-100                 Ft. Lauderdale         FL   33301                   11/10/2022   Secured                        $81,917.85                           $81,917.85
   89   Broward County [Broward County Tax Collector]                c/o Records, Taxes & Treasury                 Attn: Bankruptcy Section                   115 S Andrews Ave             Suite A-100                 Ft. Lauderdale         FL   33301                   11/10/2022   Secured                        $21,290.03                           $21,290.03
   90   Broward County [Broward County Tax Collector]                c/o Records, Taxes & Treasury                 Attn: Bankruptcy Section                   115 S Andrews Ave             Suite A-100                 Ft. Lauderdale         FL   33301                   11/10/2022   Secured                        $22,757.63                           $22,757.63
   91   CSPC Innovation USA Inc                                      Attn: Vicki Chen                              1500 S Archibald Ave                                                                                 Ontario                CA   91761                   11/10/2022   General Unsecured             $281,600.00          $281,600.00
        Naumann Hobbs Material Handling Corp II Inc
   92   [Southwest Battery]                                          Attn: David M. Michlich                       4335 E Wood St                                                                                       Phoenix                AZ   85040                   11/10/2022 General Unsecured                     $0.00                 Blank
   93   Southwest Battery Company                                    Attn: David M. Michlich                       4335 E Wood St                                                                                       Phoenix                AZ   85040                   11/10/2022 General Unsecured                $37,045.57           $37,045.57
   94   Naumann Hobbs Material Handling Corp II Inc                  Attn: David M. Michlich                       4335 E Wood St                                                                                       Phoenix                AZ   85040                   11/10/2022 General Unsecured                $19,579.84           $19,579.84
                                                                                                                                                                                                                                                                                       General Unsecured
   95   State of Alabama, Department of Revenue                      Attn: Legal Division                          PO Box 320001                                                                                        Montgomery             AL   36132-0001              11/10/2022 Priority                         $45,634.90            $4,078.52                     $41,556.38
        Spectrum [Charter Communications, Time Warner Cable,
  96    Brighthouse Networks]                                        Attn: Siobhan K McEneany                      1600 Dublin Rd                                                                                       Columbus               OH   43215                   11/10/2022   General Unsecured                 $317.74              $317.74
  97    Carrollton-Farmers Branch Independent School District        c/o Perdue Brandon Fielder Et Al              Attn: Linda D Reece                        1919 S Shiloh Rd              Suite 640, LB 40            Garland                TX   75042                   11/11/2022   Secured                        $14,507.60                           $14,507.60
  98    U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance            c/o U.S. Bank Equipment Finance               Attn: Jeffrey J Lothert                    1310 Madrid St                                            Marshall               MN   56258                   11/11/2022   General Unsecured              $41,688.94           $41,688.94
  99    Vitacoat Corporation                                         Attn: Rajendra Desai                          50 Romanelli Ave                                                                                     South Hackensack       NJ   07606                   11/11/2022   General Unsecured              $12,308.40           $12,308.40
  100   American International Chemical, LLC                         Attn: Todd P Morris                           2000 W Park Dr                             Suite 300                                                 Westborough            MA   01581                   11/14/2022   General Unsecured              $19,887.50           $19,887.50
  101   Mix3 Sound Inc.                                              Attn: Maria Ferlito                           16405 NW 8th Ave                                                                                     Miami Gardens          FL   33169                   11/11/2022   General Unsecured               $1,000.00            $1,000.00
  102   CW Carriers Dedicated Inc.                                                                                 3632 Queen Palm Dr                         Suite 175                                                 Tampa                  FL   33619                   11/14/2022   General Unsecured             $552,388.01          $552,388.01
        Industrial Physics Beverage & Canning, Inc. [CMC
  103   Kuhnke, Inc.]                                                Attn: Heather Crawford, Accounts Receivable   40 McCullough Dr                                                                                     New Castle             DE   19720                   11/14/2022 General Unsecured                $20,944.50           $20,944.50
  104   AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                        PO Box 3001                                                                                          Malvern                PA   19355-0701              11/14/2022 General Unsecured                $92,831.74           $92,831.74



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                        Page 1 of 7
                                                                                                              Case 22-17842-PDR                                                          Doc 590                       Filed 12/30/22                                Page 2 of 14
                                                                                                                                                                                         Claims Register as of 12/30/2022
                                                                                                                                                                                                   Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                    General                                      Administrative
  No.                               Name                                                      Attention                       Address 1                                      Address 2                     Address 3              City          State       Zip       Country    Date Filed      Amount Class(es)     Total Amount       Unsecured          Secured       Priority       Priority
  105    BW Flexible Systems, LLC                                                                             225 Spartangreen Blvd                                                                                       Duncan               SC       29334                     11/11/2022   General Unsecured             $6,308.54          $6,308.54
  106    DSD Partners, LLC                                            Attn: Brigid Prescott-Frank             10800 Midlothian Tnpk                            Suite 300                                                  North Chesterfield   VA       23235                     11/15/2022   General Unsecured               $721.87            $721.87
  107    AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                  PO Box 3001                                                                                                 Malvern              PA       19355-0701                11/15/2022   General Unsecured            $53,040.80         $53,040.80
  108    EastGroup Properties, L.P.                                   c/o Thomas L. Abrams, Esq.              633 S Andrews Ave                                Suite 500                                                  Fort Lauderdale      FL       33301                     11/15/2022   General Unsecured        $1,982,451.70       $1,982,451.70
  110    Portland Bottling Company                                                                            16800 SE Evelyn St                               Suite 120                                                  Clackamas            OR       97015                     11/16/2022   General Unsecured             $2,052.00          $2,052.00
  111    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                       $8,038.97                        $8,038.97
  112    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                       $8,657.05                        $8,657.05
  113    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                      $24,741.38                       $24,741.38
  114    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                      $24,785.27                       $24,785.27
  115    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                      $30,044.66                       $30,044.66
  116    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                      $30,044.06                       $30,044.06
  117    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                       $8,657.05                        $8,657.05
  118    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                       $8,638.19                        $8,638.19
  119    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                     11/16/2022   Secured                       $8,015.24                        $8,015.24
  120    Vortex Industries                                            Attn: Shannon Kane                      20 Odyssey                                                                                                  Irvine               CA       92618                     11/17/2022   General Unsecured               $386.00           $386.00
         Euler Hermes N. A. Insurance Co. as Agent for the
  122    Hamilton Group Delaware Inc Factor for Virun Inc.                                                    800 Red Brook Blvd                               Suite 400 C                                                Owings Mills         MD       21117                     11/17/2022   General Unsecured          $189,784.35         $189,784.35
  123    Kerry, Inc.                                                                                          3400 Millington Rd                                                                                          Beloit               WI       53511                     11/18/2022   General Unsecured           $21,562.36          $21,562.36
  124    Vermont Information Processing [VIP]                                                                 402 Water Tower Cir                                                                                         Colchester           VT       05446                     11/18/2022   General Unsecured           $14,949.53          $14,949.53
  125    Kim & Chang                                                                                          Jeongdong Building                               17F 21-15 Jeongdong-gil        Jung-Gu                     Seoul                         04518      South Korea    11/21/2022   General Unsecured           $34,017.34          $34,017.34
  126    Inovar Packaging Florida                                     Attn: Jarvis Garcia                     4061 SW 47th Ave                                                                                            Davie                FL       33314-4023                11/18/2022   General Unsecured          $789,402.00         $789,402.00
  127    Francis Massabki                                                                                     7330 Ocean Ter 1101                                                                                         Miami Beach          FL       33141                     11/19/2022   Priority                     $1,831.85                                      $1,831.85
         Euler Hermes agent for Trinity Logistics, Inc.
  128    (CLUS006128)                                                 Attn: Halima Qayoom                     800 Red Brook Blvd                               Suite 400 C                                                Owings Mills         MD       21117                    11/21/2022    General Unsecured        $5,744,571.33       $5,744,571.33
  129    Laurits R Christensen Associates Inc                         Attn: Edee Zukowski                     800 University Bay Dr                            Suite 400                                                  Madison              WI       53705-2299               11/21/2022    General Unsecured            $3,171.00           $3,171.00
  130    Cyber Marketing Network, Inc [Steel-Toe-Shoes.com]                                                   800 Wisconsin St                                 Unit 15                                                    Eau Claire           WI       54703-3560               11/21/2022    General Unsecured            $2,625.48           $2,625.48
  132    Karly V. Grillo                                                                                      170 Amsterdam Ave                                Apt 7E                                                     New York             NY       10023                    11/21/2022    Priority                     $5,000.00                                      $5,000.00
  133    LMR Auto Transport Brokerage Inc.                                                                    4395 Amsterdam St                                                                                           N Charleston         SC       29418-5921               11/21/2022    General Unsecured           $54,400.00          $54,400.00
         Southeast Cold Fill, LLC [Carolina Canners, Inc, NoSo
  134    Holdings, LLC]                                               c/o Kelley Fulton Kaplan & Eller PL     Attn: Craig I. Kelley, Esq.                      1665 Palm Beach Lakes Blvd     The Forum, Suite 1000       West Palm Beach      FL       33401                     11/21/2022General Unsecured         $309,652,418.47     $309,652,418.47
  135    Aqua House Inc. [Aqua House Beverage]                                                                4999 South Lulu Ave                                                                                         Wichita              KS       67216                     11/21/2022General Unsecured              $19,874.14          $19,874.14
  136    R+L Truckload Services, LLC                                  Attn: T Moncada                         315 NE 14th St                                                                                              Ocala                FL       34470                     11/04/2022General Unsecured              $22,201.33          $22,201.33
  137    State of Minnesota, Department of Revenue                                                            PO Box 64447 - BKY                                                                                          St Paul              MN       55164-0447                11/08/2022Priority                        $1,746.00                                      $1,746.00
  138    Sigma,Aldrich, Inc [MilliporeSigma]                          Attn: Toni Turner                       3050 Spruce St                                                                                              St Louis             MO       63103                     11/08/2022General Unsecured               $5,530.18           $5,530.18
  139    Joshua Griffin                                                                                       189 Cr 428                                                                                                  Lorena               TX       76655                     11/22/2022General Unsecured              $42,250.00          $42,250.00
  140    Atlas Sales Inc.                                                                                     2955 Columbia Ave W                                                                                         Battle Creek         MI       49015-8640                11/22/2022General Unsecured               $1,957.38           $1,957.38
                                                                                                                                                                                                                                                                                            General Unsecured
  141    Steven Kunz                                                                                          1466 E Glacier Place                                                                                        Chandler             AZ       85249                    11/22/2022 Priority                       $22,182.07           $1,182.07                 $21,000.00
  142    Econ One Research                                            Attn: Trent Revic                       550 South Hope St                                Suite 800                                                  Los Angeles          CA       90017                    11/22/2022 General Unsecured             $192,939.37         $192,939.37
  143    TricorBraun Inc                                                                                      6 Cityplace Drive                                Suite 1000                                                 St. Louis            MO       63141                    11/22/2022 General Unsecured              $73,450.33          $73,450.33
         Yellowstone Landscape Southeast, LLC [Yellowstone
  144    Landscape]                                                                                           PO Box 849                                                                                                  Bunnell              FL       32110                    11/23/2022    General Unsecured           $37,676.60          $37,676.60
  145    TOMCO2 Systems Company                                       Attn: Deborah L Nelson                  1609 W County Road 42                            Suite 393                                                  Burnsville           MN       55306                    11/23/2022    General Unsecured          $451,514.42         $451,514.42
  146    GreatAmerica Financial Services Corporation                  Attn: Peggy Upton                       PO Box 609                                                                                                  Cedar Rapids         IA       52406                    11/23/2022    General Unsecured           $70,475.30          $70,475.30
  147    Peak Activity, LLC                                           Attn: Justin Bennett and Andy Boyland   1880 N Congress Ave                              Suite 210                                                  Boynton Beach        FL       33426                    11/25/2022    General Unsecured          $670,177.00         $670,177.00
  148    Grosel Specialty Products                                    Attn: Robert Zajec                      330 Glasgow Drive                                                                                           Highland Heights     OH       44143                    11/26/2022    General Unsecured            $6,781.40           $6,781.40
  149    Anayansi Ramirez                                                                                     1421 W Ocotillo Rd                                                                                          Phoenix              AZ       85013                    11/28/2022    Priority                    $20,017.00                                     $20,017.00
  150    C.K.S. Packaging, Inc.                                       c/o Jackson Walker LLP                  Attn: Bruce J. Ruzinsky                          1401 McKinney St               Suite 1900                  Houston              TX       77010                    11/28/2022    Secured                     $27,533.78                        $27,533.78
  151    Atmos Energy Corporation                                     Attn: Bnkrpt Group                      PO Box 650205                                                                                               Dallas               TX       75265-0205               11/28/2022    General Unsecured              $371.48            $371.48
                                                                                                                                                                                                                                                                                               General Unsecured
  152    Khalsa Transportation Inc                                                                            13371 S Fowler Ave                                                                                          Selma                CA       93662                     11/28/2022   Priority                   $521,714.98         $506,564.98                 $15,150.00
                                                                                                                                                                                                                                                                                               General Unsecured
  153    Ohio Department of Taxation                                  Attn: Bankruptcy Division               PO Box 530                                                                                                  Columbus             OH       43216                    11/29/2022    Priority                    $69,562.12          $21,617.67                 $47,944.45
  154    Massimo Zanetti Beverage USA                                 c/o Greenspoon Marder, LLP              Attn: Michael R. Bakst, Esq.                     525 Okeechobee Blvd            Suite 900                   West Palm Beach      FL       33401                    11/29/2022    General Unsecured          $100,000.00         $100,000.00
  155    Driscoll, LLLP                                               c/o Seese, P.A.                         Attn: Michael D. Seese, Esq.                     101 NE 3rd Ave                 Suite 1270                  Fort Lauderdale      FL       33301                    11/29/2022    General Unsecured          $249,313.24         $249,313.24
  156    Idaho State Tax Commission                                   Attn: Kellie Mingo                      PO Box 36                                                                                                   Boise                ID       83722                    11/30/2022    Priority                       $221.21                                       $221.21
  157    Public Service Company d/b/a Xcel Energy                     c/o Bankruptcy Department               Attn: Katie A. Miller                            PO Box 9477                                                Minneapolis          MN       55484                    11/30/2022    General Unsecured              $630.80             $630.80
  158    Statco Engineering & Fabricators, Inc                                                                7595 Reynolds Circle                                                                                        Huntington Beach     CA       92647                    11/30/2022    General Unsecured           $51,505.28          $51,505.28
  159    Transportation Management Solutions, Inc [TMS]               Attn: Phil Magill                       18450 Pines Blvd                                 Suite 203                                                  Pembroke Pines       FL       33029                    11/30/2022    General Unsecured           $54,907.00          $54,907.00
  160    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    11/30/2022    Secured                     $39,427.01                        $39,427.01
                                                                                                                                                                                                                                                                                               General Unsecured
  161    Internal Revenue Service                                                                             PO Box 7346                                                                                                 Philadelphia         PA       19101-7346               12/01/2022    Priority                   $112,352.50          $15,087.93                 $97,264.57
  162    Crown Equipment Corporation [Crown Lift Trucks]              c/o Sebaly Shillito + Dyer              Attn: James A. Dyer                              40 N Main St                   Suite 1900                  Dayton               OH       45423                    12/01/2022    General Unsecured            $1,249.32           $1,249.32
         Crown Equipment Corporation dba Crown Credit                                                                                                                                                                                                                                          General Unsecured
  163    Company                                                      c/o Sebaly Shillito + Dyer              Attn: James A. Dyer                              40 N Main St                   Suite 1900                  Dayton               OH       45423                     12/01/2022   Secured                    $130,150.65           $3,005.65   $127,145.00
  164    Nordson Corporation                                                                                  300 Nordson Dr                                                                                              Amherst              OH       44001                     12/01/2022   General Unsecured           $15,359.13          $15,359.13

  165    Refreshment Services, Inc [Refreshment Services Pepsi]       Attn: Joey Szerletich                   3400 Solar Ave                                                                                              Springfield          IL       62707                    12/01/2022    General Unsecured            $1,689.02           $1,689.02
  166    Ankus Consulting, Inc.                                       Attn: Joseph E. Ankus, Esq.             12555 Orange Dr                                  Suite 4207                                                 Davie                FL       33330                    12/02/2022    General Unsecured           $21,334.00          $21,334.00
  167    Marc J. Kesten                                                                                       9220 NW 72nd St                                                                                             Parkland             FL       33067                    12/02/2022    General Unsecured       $25,000,000.00      $25,000,000.00
  168    Matt Tomlinson                                                                                       3003 Eastern Ave                                                                                            Baltimore            MD       21224                    12/02/2022    General Unsecured           $15,000.00          $15,000.00
  169    FORVIS LLP [BKD LLP]                                                                                 910 E St Louis St                                Suite 400                                                  Springfield          MO       65806-2570               12/05/2022    General Unsecured          $122,039.00         $122,039.00
  170    Professional Store Services                                  Attn: Philip Harrington                 PO Box 96                                                                                                   New Waverly          TX       77358                    12/02/2022    General Unsecured            $2,113.00           $2,113.00
  171    Andersen Material Handling                                   Attn: Kevin J. Godin                    30575 Anderson Ct                                                                                           Wixom                MI       48393                    12/02/2022    General Unsecured           $60,156.00          $60,156.00
  172    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $24,785.27                        $24,785.27
  173    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $30,044.66                        $30,044.66
  174    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $30,048.67                        $30,048.67
  175    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $30,044.66                        $30,044.66
         Carolina Canners, Inc. [Southeast Cold Fill, LLC, NoSo                                               Attn: Craig I. Kelley, Esq., & C. Craig Eller,
  176    Holdings, LLC]                                               c/o Kelley Fulton Kaplan & Eller PL     Esq.                                             1665 Palm Beach Lakes Blvd     The Forum, Suite 1000       West Palm Beach      FL       33401                    12/02/2022    General Unsecured      $309,652,418.47     $309,652,418.47
  177    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $30,049.21                        $30,049.21
  178    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $24,741.38                        $24,741.38
  179    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $24,790.14                        $24,790.14
  180    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $30,049.21                        $30,049.21
  181    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $30,049.21                        $30,049.21
  182    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $30,049.21                        $30,049.21
  183    Ally Bank                                                    c/o AIS Portfolio Services, LLC         Attn: Dept APS                                   4515 N Santa Fe Ave                                        Oklahoma City        OK       73118                    12/02/2022    Secured                     $24,785.27                        $24,785.27
  184    Takasago International Corp (USA)                            Attn: Joseph Mortara                    4 Volvo Dr                                                                                                  Rockleigh            NJ       07647                    12/05/2022    General Unsecured          $116,592.04         $116,592.04
                                                                                                                                                                                                                                                                                               General Unsecured
  186    Florida Department of Revenue, Bankruptcy Unit               Attn: Frederick F Rudzik, Esq           PO Box 6668                                                                                                 Tallahassee          FL       32314-6668               12/05/2022    Priority                    $81,672.65             $837.80                 $80,834.85
  187    Molly Maid of Colorado Springs                                                                       1925 Dominion Way                                Suite 104                                                  Colorado Springs     CO       80918                    11/22/2022    General Unsecured            $2,504.00           $2,504.00
  188    think4D [Friesens Corporation]                                                                       Box 556                                                                                                     Pembina              ND       58271                    12/05/2022    General Unsecured            $5,000.00           $5,000.00
  189    Santander Consumer USA                                                                               PO Box 961275                                                                                               Fort Worth           TX       76161-1245               12/06/2022    Secured                     $12,158.95                        $12,158.95
  190    Cumberland Farms, Inc. [EG Retail America LLC]               Attn: Pamela Sinnett, Paralegal         165 Flanders Rd                                                                                             Westborough          MA       01581                    12/06/2022    General Unsecured          $212,627.15         $212,627.15
         Santander Consumer USA Inc [Santander Consumer
  191    USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                           PO Box 961275                                                                                               Fort Worth           TX       76161                    12/06/2022 Secured                        $11,694.91                        $11,694.91
                                                                                                                                                                                                                                                                                            General Unsecured
  192    Byline Financial Group [BFG Corporation]                     Attn: Robert Condon                     2801 Lakeside Dr                                 Suite 212                                                  Bannockburn          IL       60015                    12/06/2022 Secured                        $77,462.25           $7,462.25    $70,000.00
         Santander Consumer USA Inc. [Santander Consumer
  193    USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                           PO Box 961275                                                                                               Fort Worth           TX       76161                    12/06/2022 Secured                        $10,546.54                        $10,546.54
                                                                                                                                                                                                                                                                                            General Unsecured
  194    Mississippi Department of Revenue                            Attn: Bankruptcy Section                PO Box 22808                                                                                                Jackson              MS       39225-2808               12/06/2022 Priority                          $656.00            $131.00                    $525.00
                                                                                                                                                                                                                                                                                            General Unsecured
  195    Cintas Corporation [VPX/Redline]                             Attn: Ann Dean, Litigation Paralegal    6800 Cintas Blvd                                                                                            Mason                OH       45040                    12/06/2022 Administrative Priority         $6,847.98           $2,575.22                                    $4,272.76
  196    Closure Systems International [CSI, CSI Closures]            c/o Ice Miller LLP                      Attn: Jeffrey A. Hokanson                        One American Square            Suite 2900                  Indianapolis         IN       46282-0200               12/06/2022 General Unsecured              $53,602.40          $53,602.40
  197    Advanced Laboratories Inc.                                   Attn: Rich Chludzinski                  8969 Cleveland Rd                                                                                           Clayton              NC       27520                    12/06/2022 General Unsecured                 $729.00             $729.00
  199    Amanda Morgan (DBA- A mom with a mop)                                                                12531 Stonebriar Ridge Dr                                                                                   Davidson             NC       28036                    12/06/2022 Priority                        $2,625.00                                      $2,625.00
  200    Marc J. Kesten v. VPX & Owoc                                 Attn: Marc J. Kesten, Esq.              9220 NW 72nd St                                                                                             Parkland             FL       33067                    12/06/2022 General Unsecured          $25,000,000.00      $25,000,000.00



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                      Page 2 of 7
                                                                                                                       Case 22-17842-PDR                                                      Doc 590                          Filed 12/30/22                               Page 3 of 14
                                                                                                                                                                                                 Claims Register as of 12/30/2022
                                                                                                                                                                                                           Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                          General                                          Administrative
  No.                              Name                                                      Attention                                  Address 1                                 Address 2                        Address 3              City         State       Zip       Country   Date Filed      Amount Class(es)     Total Amount       Unsecured            Secured         Priority       Priority
  202    Evoqua Water Technologies LLC                              Attn: Matthew Morin                                558 Clark Rd                                                                                               Tewksbury           MA       01876                    12/07/2022   General Unsecured            $13,536.35        $13,536.35
  203    Taro Patch Holdings LLC                                    c/o Aronoff Law Group                              Attn: Robert C. Aronoff                      9100 Wilshire Blvd                710 East Tower              Beverly Hills       CA       90212                    12/07/2022   General Unsecured             $8,303.47          $8,303.47
  204    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  205    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,499.91                          $9,499.91
  206    Ketone Labs, LLC                                           Attn: Michael Perry                                901 Sam Rayburn Hwy                                                                                        Melissa             TX       75454                    12/07/2022   General Unsecured            $34,400.00         $34,400.00
  207    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  208    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,786.73                         $24,786.73
  209    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,499.91                          $9,499.91
  210    Miner, LTD                                                 c/o Miner Corporation                              Attn: Ricardo Garcia                         11827 Tech Com Rd                 Suite 115                   San Antonio         TX       78233                    12/07/2022   General Unsecured            $18,575.25         $18,575.25
  211    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  212    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $8,643.83                          $8,643.83
  213    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  214    Apex Refrigeration & Boiler Co.                            Attn: Erik Rasmussen                               2801 W Willetta St                                                                                         Phoenix             AZ       85009                    12/07/2022   General Unsecured            $38,973.52         $38,973.52
  215    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $7,877.19                          $7,877.19
  216    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  217    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  218    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $56,370.79                         $56,370.79
  219    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,741.38                         $24,741.38
  220    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  221    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  222    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  223    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,741.38                         $24,741.38
  224    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,785.27                         $24,785.27
  225    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  226    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  227    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  228    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  229    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,193.81                          $9,193.81
  230    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,049.21                         $30,049.21
  231    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,515.79                          $9,515.79
  232    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,741.38                         $24,741.38
  233    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,741.38                         $24,741.38
  234    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  235    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,499.91                          $9,499.91
  236    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $8,783.35                          $8,783.35
  237    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,499.91                          $9,499.91
  238    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,497.12                          $9,497.12
  239    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $8,643.83                          $8,643.83
  240    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,566.40                          $9,566.40
  241    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,785.27                         $24,785.27
  242    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,049.21                         $30,049.21
  243    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  244    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                       $9,499.91                          $9,499.91
  245    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  246    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,342.59                         $30,342.59
  247    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $30,044.66                         $30,044.66
  248    Ally Bank                                                  c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK       73118                    12/06/2022   Secured                      $24,743.73                         $24,743.73
         Verizon Business Global LLC, on behalf of its affiliates
         and subsidiaries [Cellco Partnership d/b/a Verizon
  249    Wireless]                                                  Attn: William M Vermette                           22001 Loudoun County Pkwy                                                                                  Ashburn             VA       20147                   12/08/2022 General Unsecured              $27,625.60          $27,625.60
                                                                                                                                                                                                                                                                                                  General Unsecured
  250    Internal Revenue Service                                   Attn: Daisy Montanez                               City View Plaza II                           48 Carr 165                       Suite 2000                  Guaynabo            PR       00968-8000              12/08/2022 Priority                      $112,352.50          $15,087.93                     $97,264.57
         Santander Consumer USA [Santander Consumer USA
  251    Inc., an Illinois corporation d/b/a Chrysler Capital]                                                         PO Box 961275                                                                                              Fort Worth          TX       76161-1245              12/08/2022 Secured                        $12,158.95                          $12,158.95
         Santander Consumer USA [Santander Consumer USA
  252    Inc., an Illinois corporation d/b/a Chrysler Capital]                                                         PO Box 961275                                                                                              Fort Worth          TX       76161-1245              12/08/2022 Secured                        $11,897.24                          $11,897.24
         Chrysler Capital [Santander Consumer USA Inc., an
  253    Illinois corporation d/b/a Chrysler Capital]               Attn: Abel Marin                                   PO Box 961275                                                                                              Fort Worth          TX       76161                   12/08/2022 Secured                        $12,158.95                          $12,158.95
                                                                                                                                                                                                                                                                                                  General Unsecured
  254    KP Properties of Ohio,LLC                                  Attn: Susan Knust                                  11300 Longwater Chase Ct                                                                                   Fort Myers          FL       33908                   12/08/2022 Priority                        $5,987.95           $2,637.95                      $3,350.00
  255    Matthiesen, Wickert & Lehrer S. C.                         Attn: Meghan Henthorne & Matthew T. Fricker        1111 E Sumner St                                                                                           Hartford            WI       53027                   12/08/2022 Administrative Priority        $30,714.30                                                           $30,714.30
  256    Matthew Lotterman                                                                                             2713 N Kenmore                               Unit 3                                                        Chicago             IL       60614                   12/08/2022 Priority                       $15,000.00                                         $15,000.00
  257    Nevada Power d/b/a NV Energy                               Attn: Candace R. Harriman                          PO Box 10100                                                                                               Reno                NV       89520                   12/08/2022 General Unsecured                 $592.14             $592.14
  258    EmpHire Staffing, Inc.                                     c/o Fox Rothschild LLP                             Attn: Heather L. Ries                        777 S Flagler Dr                  Suite 1700 West Tower       West Palm Beach     FL       33401                   12/09/2022 General Unsecured              $23,169.18          $23,169.18
  259    Jason Schnaible                                                                                               3529 Meadowbrook Dr                                                                                        Napa                CA       94558                   12/09/2022 Priority                       $48,500.00                                         $48,500.00
  260    Johnson Controls Fire Protection LP [Simplex Grinnell]                                                        10405 Crosspoint Blvd                                                                                      Indianapolis        IN       46256                   12/09/2022 General Unsecured                 $964.30             $964.30
  261    Jonathan Mckey Milling                                     c/o Milling Law Firm, LLC                          2910 Devine Street                                                                                         Columbia            SC       29205                   12/09/2022 General Unsecured               $6,015.00           $6,015.00
  262    Scott Laboratories, Inc.                                   Attn: Christy Bongardt                             1480 Cader Ln                                                                                              Petaluma            CA       94954-5644              12/09/2022 General Unsecured              $57,087.57          $57,087.57
                                                                                                                                                                                                                                                                                                  General Unsecured
  263    James D. Fuzi                                                                                                 7177 West Bajada Rd                                                                                        Peoria              AZ       85383                   12/09/2022 Priority                       $39,120.00          $23,620.00                     $15,500.00
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                          General Unsecured
  264    Connect Logistix Inc. (clus006214)                         c/o Euler Hermes North America Insurance Company   800 Red Brook Blvd                                                                                         Owings Mills        MD       21117                   12/09/2022 Administrative Priority       $724,497.00         $590,470.36                                      $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                                     General Unsecured
  265    Logistics, Inc (clus006447)                                c/o Euler Hermes North America Insurance Company   800 Red Brook Blvd                                                                                         Owing Mills         MD       21117                   12/09/2022 Administrative Priority       $195,828.41          $28,914.02                                      $166,914.39
         Alto Systems, Inc [Alto Xpress, Inc; Alto Freight
  267    Management, Inc]                                           Attn: David White                                  2867 Surveyor St                                                                                           Pomona              CA       91768                    12/09/2022 General Unsecured            $218,526.75         $218,526.75
         Santander Consumer USA Inc., an Illinois corporation
  268    d/b/a Chrysler Capital.                                                                                       PO Box 961275                                                                                              Fort Worth          TX       76161-1245              12/12/2022 Secured                        $11,694.91                          $11,694.91
         Santander Consumer USA Inc., an Illinois corporation
  269    d/b/a Chrysler Capital.                                                                                       PO Box 961275                                                                                              Fort Worth          TX       76161-1245              12/12/2022 Secured                        $10,546.54                          $10,546.54
  270    Christopher Lee Weatherford                                Attn: Chris Weatherford                            1213 Warbler Dr                                                                                            Forney              TX       75126-7755              12/12/2022 Priority                       $55,200.00                                         $55,200.00
                                                                                                                                                                                                                                                                                                  General Unsecured
  271    Crown Cork & Seal USA, Inc.                                c/o Dilworth Paxson LLP                            Attn: Anne Aaronson, Esq.                    1500 Market St                    Suite 3500E                 Philadelphia        PA       19102                   12/12/2022 Secured                    $13,762,585.26      $12,903,596.00      $858,989.26
  273    Fabco Metal Products, LLC                                  Attn: Shane King                                   1490 Frances Dr                                                                                            Daytona Beach       FL       32124                   12/12/2022 Secured                     $2,160,783.76                        $2,160,783.76
                                                                                                                                                                                                                                                                                                  General Unsecured
  274    Matthew B. Wolov                                                                                              4710 Pin Oaks Cir                                                                                          Rockwall            TX       75032                   12/12/2022 Priority                       $55,200.00          $40,050.00                     $15,150.00
  275    Franchise Tax Board                                        c/o Bankruptcy Section MS A340                     PO Box 2952                                                                                                Sacramento          CA       95812-2952              12/12/2022 General Unsecured                   $0.00     To be determined
  276    "Jake" John Fossey Morrow                                                                                     6141 Sherman Cir                                                                                           Minneapolis         MN       55436                   12/13/2022 General Unsecured              $48,960.05          $48,960.05
  277    Giant Eagle, Inc.                                          Attn: Jeremy Darling                               101 Kappa Dr                                 RIDC Park                                                     Pittsburgh          PA       15238                   12/13/2022 General Unsecured                  $58.92              $58.92
                                                                                                                                                                                                                                                                                                  General Unsecured
  278    State of Nevada Department of Taxation                                                                        700 E Warm Springs Rd                          Suite 200                                                   Las Vegas           NV       89119                   12/13/2022 Priority                       $19,136.82           $1,495.24                     $17,641.58
                                                                                                                       Attn: Office of the Arizona Attorney General -                                                                                                                             General Unsecured
  279    ARIZONA DEPARTMENT OF REVENUE                              c/o Tax, Bankruptcy and Collection Sct             BCE                                            2005 N Central Ave              Suite 100                   Phoenix             AZ       85004                   12/13/2022 Priority                      $324,615.22           $7,600.53                    $317,014.69
  280    J Robbin Law PLLC                                          Attn: Jonathan Robbin                              200 Business Park Dr                           Suite 103                                                   Armonk              NY       10504                   12/13/2022 General Unsecured              $10,440.00          $10,440.00
  282    Berkeley Research Group LLC [BRG]                          c/o Accounts Receivable                            2200 Powell St                                 Suite 1200                                                  Emeryville          CA       94608                   12/13/2022 General Unsecured               $7,562.98           $7,562.98
  283    MSC Industrial Supply Company                                                                                 515 Broadhollow Rd                             Suite 1000                                                  Melville            NY       11747                   12/12/2022 General Unsecured                 $881.87             $881.87
  284    Donald Conte                                                                                                  39915 E River Ct                                                                                           Clinton Township    MI       48038                   12/14/2022 General Unsecured              $22,400.00          $22,400.00
                                                                                                                                                                                                                                                                                                  General Unsecured
  285    Krier Foods, LLC                                           c/o Frost Brown Todd LLP                           Attn: Kim Martin Lewis                       3300 Great American Tower                                     Cincinnati          OH       45202                   12/13/2022 Administrative Priority       $588,197.28         $577,005.78                                       $11,191.50
  286    Fabco Metal Products, LLC                                  Attn: Shane King                                   1490 Frances Dr                                                                                            Daytona Beach       FL       32124                   12/14/2022 Secured                     $2,160,783.76                        $2,160,783.76
  287    Todd W Herrett                                                                                                21514 Caribbean Ln                                                                                         Panama City Beach   FL       32413                   12/13/2022 General Unsecured              $24,960.00          $24,960.00
  288    12M Commercial Properties, LLC                             c/o Friday, Eldredge & Clark, LLP                  Attn: L. Raines                              3350 S Pinnacle Hills Pkwy        Suite 301                   Rogers              AR       72758                   12/13/2022 General Unsecured             $136,725.53         $136,725.53
  289    Ameris Bank d/b/a Balboa Capital                           c/o McGlinchey Stafford, PLLC                      Attn: Ralph Confreda, Jr.                    1 E Broward Blvd                  Suite 1400                  Fort Lauderdale     FL       33301                   12/13/2022 General Unsecured             $443,949.40         $443,949.40
  291    Waste Management [WM Corporate Services INC]               Attn: Bankruptcy                                   PO Box 42930                                                                                               Phoenix             AZ       85080                   12/14/2022 General Unsecured               $4,793.42           $4,793.42
                                                                                                                                                                                                                                                                                                  General Unsecured
  292    Stephanie Suddarth                                                                                            2026 Artemis Ct                                                                                            Allen               TX       75013                   12/14/2022 Priority                       $24,000.00           $8,850.00                     $15,150.00
  293    Centimark Corporation [Questmark]                                                                             12 Grandview Circle                                                                                        Canonsburg          PA       15317                   12/14/2022 General Unsecured               $4,000.00           $4,000.00
  294    Updike Distribution Logistics                              c/o Finance Department                             435 S 59th Ave                               Suite 100                                                     Phoenix             AZ       85043                   12/14/2022 General Unsecured              $83,492.16          $83,492.16



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                Page 3 of 7
                                                                                                             Case 22-17842-PDR                                              Doc 590                         Filed 12/30/22                         Page 4 of 14
                                                                                                                                                                              Claims Register as of 12/30/2022
                                                                                                                                                                                        Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                     General                                     Administrative
  No.                                Name                                                  Attention                         Address 1                          Address 2                       Address 3              City     State     Zip        Country   Date Filed    Amount Class(es)          Total Amount       Unsecured          Secured      Priority       Priority
  296 Erik McKee                                                                                             2824 E Fox Chase Circle                                                                           Doylestown       PA    18902                     12/14/2022 Priority                          $36,000.00                                   $36,000.00
  297 The Cansultants, LLC                                        Attn: John E Adams                         6895 Counselors Way                                                                               Alpharetta       GA    30005                     12/14/2022 General Unsecured                 $92,064.00        $92,064.00
  298 Target Corporation                                                                                     7000 Target Parkway                   NCF-0403                                                    Brooklyn Park    MN    55445                     12/14/2022 General Unsecured               $433,662.68        $433,662.68
                                                                                                                                                                                                                                                                           General Unsecured
  299   84.51 LLC                                                 c/o Frost Brown Todd LLP                   Attn: A.J. Webb                       3300 Great American Tower       301 E 4th St                Cincinnati       OH    45202                     12/14/2022 Administrative Priority          $34,444.06         $32,788.89                                      $1,655.17
                                                                                                                                                                                                                                                                           General Unsecured
  300   The Kroger Co.                                            c/o Frost Brown Todd LLP                   Attn: A.J. Webb                       3300 Great American Tower       301 E 4th St                Cincinnati       OH    45202                     12/14/2022 Administrative Priority         $686,223.45        $631,962.99                                    $54,260.46
  301   Action Electric Co, Inc                                   Attn: Denyse Beery                         2600 Collins Springs Drive SE                                                                     Atlanta          GA    30339                     12/14/2022 General Unsecured                $26,296.04         $26,296.04
  302   CK Waitt Industrial, LLC                                  c/o Parker, Poe, Adams & Bernstein LLP     Attn: Chip Ford                       620 S Tryon St                  Suite 800                   Charlotte        NC    28202                     12/15/2022 General Unsecured                $38,901.05         $38,901.05
  303   Maldonado Leal Serviços de Apoio Empresarial Ltda.        Attn: Gisela Cesar Maldonado               Avenida Paulista, 1765 CJ 121                                                                     Sao Paulo        SP    01311-930    Brazil       12/14/2022 General Unsecured                 $8,700.00          $8,700.00
  304   All Brands Distribution, LLC                              c/o LSS Law                                Attn: Zach B. Shelomith, Esq.         2699 Stirling Rd                Suite C401                  Ft. Lauderdale   FL    33312                     12/14/2022 General Unsecured               $762,330.91        $762,330.91
  306   WM Recycle America, LLC                                   Attn: Jacquolyn Hatfield-Mills             800 Capital Street                    Suite 3000                                                  Houston          TX    77002                     12/14/2022 General Unsecured               $182,748.90        $182,748.90
  307   Herc Rentals Inc                                          Attn: Bankruptcy                           27500 Riverview Center Blvd                                                                       Bonita Springs   FL    34134                     12/14/2022 General Unsecured                 $7,033.90          $7,033.90
                                                                                                                                                                                                                                                                           General Unsecured
  308   Total Quality Logistics, LLC [TQL]                        Attn: Joseph B. Wells, Corporate Counsel   4289 Ivy Pointe Blvd                                                                              Cincinnati       OH    45245                     12/14/2022 Secured                         $898,861.80        $883,873.93    $14,987.87
  310   Emory & Co., LLC                                          Attn: John Emory Jr                        250 E Wisconsin Ave                   Suite 910                                                   Milwaukee        WI    53202                     12/14/2022 General Unsecured                $29,360.00         $29,360.00
        CI421 4747 W. Buckeye LLC, ALDA 4747 W. Buckeye
  311   LLC and MFP 4747 W. Buckeye LLC                           c/o Raines Feldman LLP                     Attn: Hamid R. Rafatjoo               1800 Avenue of the Stars        12th Floor                  Los Angeles      CA    90067                     12/14/2022 General Unsecured            $23,455,389.00      $23,455,389.00
  312   Fusion Logistics Services, LLC                            Attn: E Luis Campano                       PO Box 33080                                                                                      Lakeland         FL    33807                     12/15/2022 General Unsecured               $431,602.00         $431,602.00
        State of New Jersey Division of Taxation Bankruptcy
  313   Section                                                                                              PO Box 245                                                                                        Trenton          NJ    08695-0245                12/14/2022   Priority                       $33,355.86                                    $33,355.86
  314   YRC Inc. (dba YRC Freight) [Yellow Corporation]           c/o Frantz Ward LLP                        Attn: John Kostelnik                  200 Public Square               Suite 3000                  Cleveland        OH    44114                     12/14/2022   General Unsecured              $64,803.66          $64,803.66
  316   YRC Inc. (dba YRC Freight) [Yellow Corporation]           c/o Frantz Ward LLP                        Attn: John Kostelnik                  200 Public Square               Suite 3000                  Cleveland        OH    44114                     12/14/2022   General Unsecured             $246,228.40         $246,228.40
  318   RXO Capacity Solutions, LLC [f/k/a XPO Logistics, LLC]    c/o Holland & Knight LLP                   Attn: Edward Fitzgerald Esq           200 S Orange Ave                Suite 2600                  Orlando          FL    32801                     12/14/2022   General Unsecured           $1,940,016.10       $1,940,016.10
  319   Archer Daniels Midland Company [Wild Flavors, Inc.]       Attn: Mark H Speiser                       4666 Fairies Pkwy                                                                                 Decatur          IL    62526                     12/14/2022   General Unsecured           $1,117,812.02       $1,117,812.02
  320   EFL Global LLC                                            c/o Gibbons PC                             Attn: Brett S. Theisen                One Penn Plaza                  37th Floor                  New York         NY    10119-3701                12/15/2022   General Unsecured           $2,164,149.33       $2,164,149.33
  321   EFL Container Lines LLC                                   c/o Gibbons P.C.                           Attn: Brett S. Theisen                One Penn Plaza                  37th Floor                  New York         NY    10119-3701                12/15/2022   General Unsecured             $372,677.15         $372,677.15
                                                                                                                                                                                                                                                                                                                                                                              565300 plus
  322   Federal Insurance Company                                 c/o Duane Morris LLP                       Attn: Wendy M. Simkulak               30 S 17th St                                                Philadelphia     PA    19103-4196                12/14/2022 Administrative Priority         $565,300.00                                                 additional amounts
                                                                                                                                                                                                                                                                                                                                                                              565300 plus
  324   Vigilant Insurance Company                                c/o Duane Morris LLP                       Attn: Wendy M. Simkulak               30 S 17th St                                                Philadelphia     PA    19103-4196                12/15/2022 Administrative Priority         $565,300.00                                                 additional amounts
  327   AIG Property Casualty, Inc.                               Attn: Kevin J. Larner, Esq.                28 Liberty St                         Floor 22                                                    New York         NY    10005                     12/15/2022 Administrative Priority               $0.00                                                        Unliquidated
  331   Chubb Custom Insurance Company                            c/o Duane Morris LLP                       Attn: Wendy M. Simkulak               30 S 17th St                                                Philadelphia     PA    19103-4196                12/15/2022 Administrative Priority         $565,300.00                                                       $565,300.00
                                                                                                                                                                                                                                                                                                                                                                              565300 plus
  342   Great Northern Insurance Company                          c/o Duane Morris LLP                       Attn: Wendy M. Simkulak               30 S 17th St                                                Philadelphia     PA    19103-4196                12/14/2022   Administrative Priority       $565,300.00                                                 additional amounts
  347   EFL Global Logistics Canada Ltd                           c/o Gibbons PC                             Attn: Brett S. Theisen, Esq           One Gateway Ctr                                             Newark           NJ    07102-5310                12/15/2022   General Unsecured                 $328.83            $328.83
  348   MEI Rigging & Crating, LLC dba Dunkel Bros                Attn: Christina Uitz                       PO Box 1630                                                                                       Albany           OR    97321                     12/15/2022   Secured                        $69,443.65                       $69,443.65
  349   Centimark Corporation [Questmark]                                                                    12 Grandview Circle                                                                               Canonsburg       PA    15317                     12/15/2022   General Unsecured              $35,923.30         $35,923.30
  350   Glen Raven Logistics, Inc.                                Attn: David M. Schilli                     101 N Tryon St                        Suite 1900                                                  Charlotte        NC    28246                     12/15/2022   General Unsecured             $663,912.54        $663,912.54
                                                                                                                                                                                                                                                                             General Unsecured
  351   Patrick McMahon                                                                                      4367 55th Ave                                                                                     Bettendorf       IA    52722                     12/15/2022   Priority                       $49,940.00          $34,790.00                $15,150.00
  353   Donna Williams [The Kleppin Law Firm]                                                                4846 NW 95th Ave                                                                                  Sunrise          FL    33351                     12/15/2022   General Unsecured           $3,000,000.00       $3,000,000.00
  354   Dennemeyer & Associates LLC                                                                          2 North Riverside Plaza               Suite 1500                                                  Chicago          IL    60606                     12/16/2022   General Unsecured               $6,437.60           $6,437.60
  355   Daniel Yepes                                              c/o The Frazer Firm, PA                    Attn: Kent Frazer                     601 Heritage Dr                 Suite 220                   Jupiter          FL    33458                     12/16/2022   General Unsecured                   $0.00            unknown
  356   Gorilla Marketing LLC                                     c/o The Frazer Firm, PA                    Attn: Kent Frazer                     601 Heritage Dr                 Suite 220                   Jupiter          FL    33458                     12/16/2022   General Unsecured                   $0.00            unknown
  357   Dairy Farmers of America, Inc.                            Attn: William J. Easley                    1200 Main Street                      Suite 3800                                                  Kansas City      MO    64105                     12/16/2022   General Unsecured          $20,683,801.49      $20,683,801.49
  358   Ardagh Metal Packaging USA Corp.                          c/o Shumaker, Loop & Kendrick, LLP         Attn: David Conaway                   101 S Tryon St                  Suite 2200                  Charlotte        NC    28280                     12/16/2022   General Unsecured          $11,394,078.77      $11,394,078.77
  360   Capitol Records, LLC                                      Attn: JoAn Cho                             222 Colorado Ave                                                                                  Santa Monica     CA    90404                     12/16/2022   General Unsecured             $300,000.00         $300,000.00
  361   Cheryl Ohel                                               c/o Kleppin Law Firm                       Attn: Chris Kleppin, Allyson Kisiel   8751 W Broward Blvd             Suite 105                   Plantation       FL    33324                     12/16/2022   General Unsecured           $5,000,000.00       $5,000,000.00
  362   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $10,454.04                       $10,454.04
  363   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  364   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  365   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,653.83                        $6,653.83
  366   PolyGram Publishing, Inc.                                 Attn: JoAn Cho                             222 Colorado Ave                                                                                  Santa Monica     CA    90404                     12/16/2022   General Unsecured           $2,450,000.00       $2,450,000.00
  367   Songs of Universal, Inc.                                  Attn: JoAn Cho                             222 Colorado Ave                                                                                  Santa Monica     CA    90404                     12/16/2022   General Unsecured           $3,825,000.00       $3,825,000.00
  368   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,683.81                        $6,683.81
  369   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $40,038.94                       $40,038.94
  370   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $39,704.35                       $39,704.35
  371   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,921.63                        $6,921.63
  372   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $7,052.56                        $7,052.56
  373   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,835.13                        $6,835.13
  374   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $40,057.85                       $40,057.85
  375   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,816.28                        $6,816.28
  376   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $39,922.36                       $39,922.36
  377   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $38,366.15                       $38,366.15
  378   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $39,724.78                       $39,724.78
  379   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $41,217.81                       $41,217.81
  380   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $41,237.28                       $41,237.28
  381   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $40,057.85                       $40,057.85
  382   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $38,780.53                       $38,780.53
  383   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,146.42                       $11,146.42
  384   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $7,052.56                        $7,052.56
  385   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $40,089.92                       $40,089.92
  386   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $45,184.99                       $45,184.99
  387   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,138.82                       $11,138.82
  388   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,138.82                       $11,138.82
  389   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,138.82                       $11,138.82
  390   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,139.39                       $11,139.39
  391   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,874.50                        $6,874.50
  392   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,874.50                        $6,874.50
  393   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,138.82                       $11,138.82
  394   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $40,089.92                       $40,089.92
  395   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $39,974.31                       $39,974.31
  396   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,138.82                       $11,138.82
  397   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,835.13                        $6,835.13
  398   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                         $6,835.60                        $6,835.60
  399   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  400   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  401   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  402   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  403   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  404   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  405   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  406   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  407   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  408   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,337.51                       $16,337.51
  409   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,138.82                       $11,138.82
  410   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $17,715.67                       $17,715.67
  411   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,376.15                       $11,376.15
  412   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $13,507.65                       $13,507.65
  413   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $13,502.54                       $13,502.54
  414   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $13,508.61                       $13,508.61
  415   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $16,328.74                       $16,328.74
  416   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $13,507.65                       $13,507.65
  417   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $14,469.69                       $14,469.69
  418   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $34,393.05                       $34,393.05
  419   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $11,520.50                       $11,520.50
  420   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson          200 S Orange Ave                Suite 800                   Orlando          FL    32801                     12/15/2022   Secured                        $13,502.54                       $13,502.54



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                        Page 4 of 7
                                                                                                                      Case 22-17842-PDR                                                Doc 590                       Filed 12/30/22                            Page 5 of 14
                                                                                                                                                                                       Claims Register as of 12/30/2022
                                                                                                                                                                                                 Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                General                                      Administrative
  No.                               Name                                                Attention                                      Address 1                           Address 2                     Address 3              City      State       Zip       Country   Date Filed      Amount Class(es)        Total Amount       Unsecured            Secured       Priority     Priority
  421    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,385.08                         $34,385.08
  422    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,393.05                         $34,393.05
  423    Aquionics, Inc                                          c/o Bankruptcy Claims Administrative Services, LLC   84 Herbert Ave                          Building B                    Suite 202                   Closter          NJ       07624                    12/15/2022   General Unsecured               $34,764.97         $34,764.97
  424    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,380.49                         $34,380.49
  425    All Brands Distribution, LLC                            c/o LSS Law                                          Attn: Zach B. Shelomith, Esq.           2699 Stirling Rd              Suite C401                  Ft. Lauderdale   FL       33312                    12/15/2022   General Unsecured             $762,330.91        $762,330.91
  426    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,393.05                         $34,393.05
  427    Gimmel Tammuz Realty (I-70 Industrial Center Denver) A c/o Dalfen Industrial LLC                             1970 Broadway                           Suite 700                                                 Oakland          CA       94612                    12/15/2022   General Unsecured             $212,588.78        $212,588.78
  428    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,389.88                         $34,389.88
  429    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $16,328.74                         $16,328.74
  430    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $24,909.44                         $24,909.44
  431    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $10,712.89                         $10,712.89
  432    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,393.05                         $34,393.05
  433    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,393.05                         $34,393.05
  434    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,390.31                         $34,390.31
  435    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $10,684.19                         $10,684.19
  436    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,390.31                         $34,390.31
  437    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  438    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,392.89                         $34,392.89
  439    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  440    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  441    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  442    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  443    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $10,617.07                         $10,617.07
  444    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  445    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $10,517.86                         $10,517.86
  446    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $10,242.64                         $10,242.64
  447    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $10,615.21                         $10,615.21
  448    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $10,550.89                         $10,550.89
  449    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  450    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  451    ACAR Leasing Ltd., Inc. d/b/a GM Financial Leasing      c/o Burr & Forman LLP                                Attn: Christopher R. Thompson           200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   General Unsecured               $62,214.88        $62,214.88
  452    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                          $9,436.48                          $9,436.48
  453    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $33,312.53                         $33,312.53
  454    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $16,328.74                         $16,328.74
  455    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $16,337.51                         $16,337.51
  456    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $15,108.18                         $15,108.18
  457    UMG Recordings, Inc.                                    Attn: JoAn Cho                                       222 Colorado Ave                                                                                  Santa Monica     CA       90404                    12/16/2022   General Unsecured           $6,950,000.00       $6,950,000.00
  458    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $17,715.67                         $17,715.67
  459    Hardrock Concrete Placement Co., Inc.                                                                        4839 W Brill St                                                                                   Phoenix          AZ       85043                    12/16/2022   Secured                       $669,195.67                         $669,195.67
  461    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,393.05                         $34,393.05
  462    Universal Music - MGB NA LLC                            Attn: JoAn Cho                                       222 Colorado Ave                                                                                  Santa Monica     CA       90404                    12/16/2022   General Unsecured             $150,000.00         $150,000.00
  463    Universal Music - Z Tunes LLC                           Attn: JoAn Cho                                       222 Colorado Ave                                                                                  Santa Monica     CA       90404                    12/16/2022   General Unsecured           $1,800,000.00       $1,800,000.00
  464    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $39,723.09                         $39,723.09
  465    Universal Music Corp.                                   Attn: JoAn Cho                                       222 Colorado Ave                                                                                  Santa Monica     CA       90404                    12/16/2022   General Unsecured           $5,975,000.00       $5,975,000.00
  466    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $39,724.78                         $39,724.78
  467    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                          $6,835.13                          $6,835.13
  468    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $41,217.81                         $41,217.81
  469    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $11,376.15                         $11,376.15
  470    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $40,059.55                         $40,059.55
  471    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $13,502.54                         $13,502.54
  472    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $34,391.50                         $34,391.50
  473    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                         $11,138.82                         $11,138.82
  474    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                          $6,683.81                          $6,683.81
  475    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                          $5,256.36                          $5,256.36
  476    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                          $7,441.68                          $7,441.68
  477    AmeriCredit Financial Services, Inc. d/b/a GM Financial c/o Burr & Forman LLP                                Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                    12/15/2022   Secured                          $6,882.74                          $6,882.74
  478    Universal Musica, Inc.                                  Attn: JoAn Cho, Esq.                                 222 Colorado Ave                                                                                  Santa Monica     CA       90404                    12/16/2022   General Unsecured             $700,000.00        $700,000.00
                                                                                                                                                                                                                                                                                        General Unsecured
  479    MDV SpartanNash LLC                                       c/o Warner Norcross + Judd LLP                     Attn: Stephen B. Grow                   150 Ottawa Ave NW             Suite 1500                  Grand Rapids     MI       49503                   12/16/2022    Administrative Priority        $41,854.46          $25,214.02                                   $16,640.44
  480    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $13,507.65                          $13,507.65
  481    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                         $6,835.13                           $6,835.13
  482    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  483    Stellar Group Incorporated                                c/o Agentis PLLC                                   Attn: Robert P. Charbonneau             55 Alhambra Plaza             Suite 800                   Coral Gables     FL       33134                   12/16/2022    General Unsecured          $20,215,753.63      $20,215,753.63
  484    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $14,469.69                          $14,469.69
  485    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,739.61                          $43,739.61
  486    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,692.30                          $43,692.30
  487    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $41,940.29                          $41,940.29
         The Kleppin Firm P.A. [The Kleppin Law Firm, Glasser
  488    and Kleppin, P.A.]                                        Attn: Chris Kleppin                                8751 W Broward Blvd                     Suite 105                                                 Plantation       FL       33324                   12/16/2022    General Unsecured           $2,000,000.00       $2,000,000.00
  489    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $34,393.05                          $34,393.05
  490    The Kleppin Law Firm P.A.                                 Attn: Chris Kleppin                                8751 W Broward Blvd                     Suite 105                                                 Plantation       FL       33324                   12/16/2022    General Unsecured           $1,200,000.00       $1,200,000.00
  491    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $34,393.05                          $34,393.05
  492    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $17,715.67                          $17,715.67
  493    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $17,715.67                          $17,715.67
  494    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $11,917.08                          $11,917.08
  495    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $11,917.08                          $11,917.08
  496    SLBS Limited Partnership d/b/a Summit Distributing        c/o Carlton Fields                                 Attn: David L. Gay                      700 NW 1st Ave                Suite 1200                  Miami            FL       33136                   12/16/2022    General Unsecured          $10,020,910.84      $10,020,910.84
  497    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $11,911.50                          $11,911.50
  498    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $11,917.08                          $11,917.08
  499    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  507    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  508    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,143.09                          $51,143.09
  509    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $11,376.15                          $11,376.15
  510    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,734.69                          $43,734.69
  511    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,734.71                          $43,734.71
  512    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,726.35                          $43,726.35
  513    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,729.39                          $43,729.39
                                                                                                                                                                                                                                                                                        General Unsecured
  514    Fiesta Warehousing & Distribution Co.                     Attn: Steven J. Solomon                            333 SE 2nd Ave                          Suite 3200                                                Miami            FL       33131                   12/16/2022    Secured                       $390,773.07            Unknown      $390,773.07
  515    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,729.39                          $43,729.39
  516    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  517    Fiesta Warehousing & Distribution Co.                     Attn: Steven J. Solomon                            333 SE 2nd Ave                          Suite 3200                                                Miami            FL       33131                   12/16/2022    General Unsecured                   $0.00        Unliquidated *
  518    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  520    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,734.54                          $43,734.54
  521    Sidel Blowing & Services SAS                              Attn: Wayne Bradley                                1201 W Peachtree St NW                  Suite 3150                                                Atlanta          GA       30309                   12/16/2022    General Unsecured             $704,629.90        $704,629.90
  522    Ring Container Technologies, LLC                          c/o Glankler Brown                                 Attn: Bill Bradley, Ricky L. Hutchens   6000 Poplar Ave               Suite 400                   Memphis          TN       38002                   12/16/2022    General Unsecured             $476,470.00        $476,470.00
  523    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  524    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $43,729.39                          $43,729.39
  525    Briggs Equipment Inc                                      c/o Hicks Law Group PLLC                           Attn: Kevin S. Wiley Jr                 325 N St Paul St              Suite 4400                  Dallas           TX       75201                   12/16/2022    General Unsecured             $679,072.01        $679,072.01
  526    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  527    Cherokee Chemical Co, Inc [CCI Chemical]                  c/o Schell Nuelle LLP                              269 West Bonita                                                                                   Claremont        CA       91711                   12/19/2022    General Unsecured             $147,936.80        $147,936.80
  528    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  529    Brookshire Brothers, Inc.                                                                                    1201 Ellen Trout Dr                                                                               Lufkin           TX       75904                   12/16/2022    General Unsecured              $66,720.00         $66,720.00
  530    EFL Container Lines LLC                                   c/o Gibbons P.C.                                   Attn: Brett S. Theisen                  One Penn Plaza                37th Floor                  New York         NY       10119-3701              12/16/2022    General Unsecured             $392,598.15        $392,598.15
  531    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  532    EFL Global LLC                                            c/o Gibbons PC                                     Attn: Brett S. Theisen                  One Penn Plaza                37th Floor                  New York         NY       10119-3701              12/16/2022    General Unsecured           $2,181,995.15       $2,181,995.15
  533    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                              Attn: Christopher R Thompson            200 S Orange Ave              Suite 800                   Orlando          FL       32801                   12/15/2022    Secured                        $51,413.09                          $51,413.09
  534    FedEx                                                     c/o Bankruptcy Department                          3965 Airways Blvd                       Module G 3rd Floor                                        Memphis          TN       38116-5017              12/16/2022    General Unsecured             $633,873.21        $633,873.21



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                  Page 5 of 7
                                                                                                                          Case 22-17842-PDR                                                          Doc 590                       Filed 12/30/22                                Page 6 of 14
                                                                                                                                                                                                     Claims Register as of 12/30/2022
                                                                                                                                                                                                               Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                                     General                                            Administrative
  No.                                Name                                                   Attention                                          Address 1                                 Address 2                     Address 3                   City     State       Zip       Country   Date Filed     Amount Class(es)       Total Amount            Unsecured               Secured        Priority       Priority
                                                                                                                              Attn: Amanda B Chiilds, Chief Litigation &
  535    Speedway LLC                                              c/o 7-Eleven, Inc.                                         Investigation Counsel                        3200 Hackberry Rd                                             Irving             TX      75063                    12/16/2022 General Unsecured             $899,030.29              $899,030.29
  537    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave               Suite 800                      Orlando            FL      32801                    12/15/2022 Secured                        $51,413.09                                  $51,413.09
                                                                   Attn: Amanda B. Childs, Chief Litigation & Investigation
  538    7-Eleven, Inc.                                            Counsel                                                    3200 Hackberry Rd                                                                                          Irving             TX      75063                    12/16/2022 General Unsecured           $2,244,199.58            $2,244,199.58
  539    Gordon & Rees                                             Attn: Megan M. Adeyemo                                     2200 Ross Ave                                Suite 3700                                                    Dallas             TX      75201                    12/16/2022 General Unsecured           $3,927,445.68            $3,927,445.68
                                                                                                                                                                                                                                                                                                        General Unsecured
  540    Dogwood Propco FL, L.P.                                   Attn: John M. Spencer                                      1420 E 7th St                                                                                              Charlotte          NC      28207                    12/16/2022 Secured                        $44,504.90               $33,996.13         $10,508.77
  541    Ball Metal Beverage Container Corp.                       Attn: David Westmoreland, Esq.                             9200 W 108th Circle                                                                                        Westminster        CO      80021                    12/18/2022 General Unsecured          $15,723,767.45           $15,723,767.45
  542    Eagle Distributing Co Inc                                 Attn: Michael Craig                                        310 Radford Place                                                                                          Knoxville          TN      37917                    12/16/2022 General Unsecured              $64,000.00               $64,000.00
  543    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave               Suite 800                      Orlando            FL      32801                    12/15/2022 Secured                        $17,715.67                                  $17,715.67
  544    Knoxville Beverage Co., Inc                               Attn: Michael Craig                                        310 Radford Place                                                                                          Knoxville          TN      37917                    12/16/2022 General Unsecured              $64,000.00               $64,000.00
  545    Donna Williams vs. VPX & Owoc (2020)                      Attn: Donna Lorie Williams                                 4846 NW 95th Ave                                                                                           Sunrise            FL      33351                    12/17/2022 General Unsecured           $3,000,000.00            $3,000,000.00
  546    Priority-1, Inc.                                          Attn: Chris Michaels, General Counsel                      1800 E Roosevelt Rd                                                                                        Little Rock        AR      72206-2516               12/16/2022 General Unsecured           $1,402,737.96            $1,402,737.96
  547    Doehler USA Inc.                                          c/o Bryan Cave Leighton Paisner LLP                        Attn: Jarret P. Hitchings, Esq.              One Wells Fargo Center         301 S College St, Suite 2150   Charlotte          NC      28202                    12/16/2022 General Unsecured          $26,895,664.85           $26,895,664.85
  548    England Logistics, Inc.                                   Attn: Justin Olsen                                         1325 S 4700 W                                                                                              Salt Lake City     UT      84104                    12/17/2022 General Unsecured           $1,518,736.63            $1,518,736.63
                                                                                                                                                                                                                                                                                                        General Unsecured
  550    Gregg Ginalick                                            Attn: Gregg Ginalick                                       330 Willow Run                                                                                             Prosper            TX      75078                    12/16/2022 Priority                       $56,278.04                $25,750.04                      $30,528.00
  551    RM Mechanical, Inc                                        Attn: Scott Magnuson                                       5998 W Gowen Rd                                                                                            Boise              ID      83709                    12/16/2022 Secured                       $918,548.57                                 $918,548.57
  552    Krones, Inc.                                              c/o Foley & Lardner LLP                                    Attn: Matthew D. Lee                         150 E Gilman St                Suite 5000                     Madison            WI      53703                    12/19/2022 General Unsecured           $2,411,958.31            $2,411,958.31
  553    Refresco Benelux b.v.                                     c/o Holland & Knight LLP                                   Attn: W. Keith Fendrick                      100 N Tampa St                 Suite 4100                     Tampa              FL      33602                    12/18/2022 General Unsecured              $10,891.14               $10,891.14
  555    Arista Music                                              Attn: Wade Leak, Esq.                                      25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured             $750,000.00              $750,000.00
  556    Direct Connect Logistix, Inc                              Attn: Marc Vreeland                                        314 West Michigan St                                                                                       Indianapolis       IN      46202                    12/19/2022 General Unsecured             $722,497.36              $722,497.36
  557    LaFace Records LLC                                        Attn: Wade Leak, Esq                                       25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured             $300,000.00              $300,000.00
  558    Lone Star Business Association Coop                       Attn: Emily Wall                                           900 Jackson St                               Suite 570                                                     Dallas             TX      75202                    12/19/2022 Administrative Priority        $16,161.25                                                                  $16,161.25
  560    Zomba Recording LLC                                       Attn: Wade Leak, Esq.                                      25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured           $2,300,000.00            $2,300,000.00
                                                                                                                                                                                                                                                                                                        General Unsecured
  561    Graphic Packaging International, LLC                      c/o Shumaker, Loop & Kendrick, LLP                         Attn: David Conaway                          101 S Tryon St                 Suite 2200                     Charlotte          NC      28280                    12/19/2022 Administrative Priority     $5,001,968.00            $4,935,395.00                                         $66,573.00
  562    Arista Records LLC                                        Attn: Wade Leak                                            25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured           $1,100,000.00            $1,100,000.00
  563    Quarles & Brady LLP                                       Attn: Christopher Combest                                  300 N LaSalle St                             Suite 4000                                                    Chicago            IL      60654                    12/19/2022 General Unsecured           $1,417,934.25            $1,417,934.25
  564    Sony Music Entertainment US Latin LLC                     Attn: Wade Leak, Esq.                                      25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured           $1,550,000.00            $1,550,000.00
  565    Records Label, LLC                                        Attn: Wade Leak                                            25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured             $700,000.00              $700,000.00
  566    Volcano Entertainment III LLC                             Attn: Wade Leak                                            25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured             $200,000.00              $200,000.00
  568    Sony Music Entertainment                                  Attn: Wade Leak                                            25 Madison Ave                               22nd Floor                                                    New York           NY      10010                    12/18/2022 General Unsecured          $31,000,000.00           $31,000,000.00
  569    Refresco Beverages US Inc [Cott Beverages Inc]            c/o Holland & Knight LLP                                   Attn: W Keith Fendrick, Esq                  100 N Tampa St                 Suite 4100                     Tampa              FL      33602                    12/19/2022 General Unsecured              $34,464.52               $34,464.52
  570    Refresco Canada Inc.                                      c/o Holland & Knight LLP                                   Attn: W. Keith Fendrick                      100 N Tampa St                 Suite 4100                     Tampa              FL      33602                    12/19/2022 General Unsecured              $58,941.47               $58,941.47
  571    Refresco Beverages US Inc. [Cott Beverages Inc.]          c/o Holland & Knight LLP                                   Attn: William Keith Fendrick                 100 N Tampa St                 Suite 4100                     Tampa              FL      33602                    12/19/2022 General Unsecured           $9,654,634.00            $9,654,634.00
  580    Securitas Security Services USA, Inc.                     c/o WOC Business Services Dept                             4330 Park Terrace Dr                                                                                       Westlake Village   CA      91361                    12/19/2022 General Unsecured               $1,732.56                $1,732.56
  583    Inventus, LLC [Legility, LLC]                             c/o Consilio LLC                                           1828 L Street NW                             Suite 1070                                                    Washington         DC      20036                    12/19/2022 General Unsecured           $1,274,116.47            $1,274,116.47
         FIRST Insurance Funding, a Division of Lake Forest
  588    Bank & Trust Company, N.A.                                Attn: Janice West                                          450 Skokie Blvd                              Suite 1000                                                    Northbrook         IL      60062                    12/19/2022   Secured                   $1,675,119.78                                $1,675,119.78
  589    Packaging Equipment Inc.                                  c/o Thompson Hine LLP                                      Attn: Sean A. Gordon                         Two Alliance Center            3560 Lenox Rd NE, Suite 1600   Atlanta            GA      30326                    12/19/2022   General Unsecured            $14,520.00               $14,520.00
  590    Premium Beverage Company                                  c/o ArentFox Schiff LLP                                    Attn: Annie Y. Stoops                        555 W Fifth St                 48th Floor                     Los Angeles        CA      90013                    12/19/2022   General Unsecured                 $0.00               Unliquidated
  591    Jump Foods, LLC                                           c/o Cline Williams Wright Johnson & Oldfather, LLP         Attn: John F. Zimmer, V                      233 S 13 St                    Suite 1900                     Lincoln            NE      68508                    12/19/2022   General Unsecured            $25,000.00               $25,000.00
  592    Packaging Equipment, Inc.                                 c/o Thompson Hine LLP                                      Attn: Sean A. Gordon                         Two Alliance Center            3560 Lenox Rd NE, Suite 1600   Atlanta            GA      30326                    12/19/2022   General Unsecured            $14,520.00               $14,520.00
  595    PepsiCo, Inc.                                             c/o FrankGecker LLP                                        Attn: Joseph D. Frank                        1327 W Washington Blvd         Suite 5 G-H                    Chicago            IL      60607                    12/19/2022   General Unsecured       $115,000,000.00          $115,000,000.00
  597    Bottling Group, LLC                                       c/o FrankGecker LLP                                        Attn: Joseph D Frank                         1327 W Washington Blvd         Suite 5 G-H                    Chicago            IL      60607                    12/19/2022   General Unsecured           $159,686.32              $159,686.32
  598    Daisy Duke Promotions LLC                                 Attn: Roger Heinrich                                       7132 Washington St                                                                                         Kansas City        MO      64114-1343               12/19/2022   General Unsecured           $318,663.00              $318,663.00
  599    Premier Distributing Company                              Attn: Alan Markey                                          4321 Yale Blvd NE                                                                                          Albuquerque        NM      87107                    12/19/2022   General Unsecured           $832,000.00              $832,000.00
  600    Atlanta Retailers Association, LLC                        c/o Jaffer Law, P.C.                                       Attn: Mary E. Meyer, Esq.                    3538 Habersham at Northlake    Building D                     Tucker             GA      30084                    12/19/2022   General Unsecured            $69,698.87               $69,698.87
         Warner Music Group "WMG" (as defined in the attached      Brad Cohen, Senior Vice President & Head of Litigation;
  601    rider)                                                    Matt Flott, EVP & CFO Recorded Music                       1633 Broadway                                                                                              New York           NY      10019                    12/19/2022 General Unsecured          $24,650,000.00           $24,650,000.00
  602    Pettit Kohn Ingrassia Lutz & Dolin, PC                    c/o Rossway Swan Tierney Barry & Oliver, PL                Attn: Thomas W. Tierney, Esq.                2101 Indian River Blvd         Suite 200                      Vero Beach         FL      32960                    12/19/2022 General Unsecured             $273,641.54              $273,641.54
  604    Amazon Web Services, Inc.                                 c/o K&L Gates LLP                                          Attn: Brian Peterson                         925 4th Ave                    Suite 2900                     Seattle            WA      98104                    12/19/2022 General Unsecured               $3,250.53                $3,250.53
                                                                                                                                                                                                                                                                                                        General Unsecured
                                                                                                                                                                                                                                                                                                        Secured
  605    FONA International, Inc.                                  c/o Baker Donelson, Bearman, Caldwell & Berkowitz, PC Attn: Daniel Carrigan                             901 K Street NW                Suite 900                      Washington         DC      20001                    12/19/2022 Administrative Priority       $899,203.95              $602,203.95        $297,000.00                             TBD
  606    Colgems-EMI Music Inc.                                    Attn: David Przygoda                                  25 Madison Ave                                    26th Floor                                                    New York           NY      10010                    12/19/2022 General Unsecured             $150,000.00              $150,000.00
                                                                                                                         Attn: Amy M. Leitch, Esq. & Aleksas A.
  607    Suddath Global Logistics, LLC                             c/o Akerman, LLP                                      Barauskas, Esq.                                   50 N Laura St                  Suite 3100                     Jacksonville       FL      32202                    12/19/2022 General Unsecured             $608,476.53              $608,476.53
                                                                                                                                                                                                                                                                                                        General Unsecured
  610    Monster Energy Company                                    Attn: Aaron Sonnhalter                                     1 Monster Way                                                                                              Corona             CA      92879                    12/19/2022 Administrative Priority             $0.00 Not less than 389797257.35                                     Undetermined
  615    EMI April Music Inc.                                      Attn: David Przygoda                                       25 Madison Ave                               26th Floor                                                    New York           NY      10010                    12/19/2022 General Unsecured           $2,225,000.00              $2,225,000.00
  616    EMI Blackwood Music Inc.                                  Attn: David Przygoda                                       25 Madison Ave                               26th Floor                                                    New York           NY      10010-8601               12/19/2022 General Unsecured             $875,000.00                $875,000.00
         Brendan Abbott, Peter Fischer, and Carlton Harris, Each
         Individually and on Behalf of a Nationwide Class of
  617    Similarly-Situated Consumers                              c/o Pack Law, P.A.                                         Attn: Jessey James Krehl                     51 NE 24th St                  Suite 108                      Miami              FL      33137                    12/19/2022   General Unsecured                 $0.00        500 million; unliquid
  618    Jobete Music Co. Inc.                                     Attn: David Przygoda                                       25 Madison Ave                               26th Floor                                                    New York           NY      10010-8601               12/19/2022   General Unsecured           $300,000.00              $300,000.00
  619    Sony Music Publishing (US) LLC                            Attn: David Przygoda                                       25 Madison Ave                               26th Floor                                                    New York           NY      10010-8601               12/19/2022   General Unsecured         $7,400,000.00            $7,400,000.00
  620    Faith Technologies Incorporated                           Attn: Ken Baumgart                                         201 Main St                                  PO Box 260                                                    Menasha            WI      54952                    12/19/2022   Secured                   $3,584,788.15                                $3,584,788.15
  621    AXS Law Group, PLLC.                                      Attn: Courtney Caprio                                      2121 NW 2nd Ave                              Suite 201                                                     Miami              FL      33127                    12/19/2022   General Unsecured            $17,880.00               $17,880.00
  622    Stone Diamond Music Corp.                                 Attn: David Przygoda                                       25 Madison Ave                               26th Floor                                                    New York           NY      10010-8601               12/19/2022   General Unsecured           $150,000.00              $150,000.00
  624    Chestnut Hill Technologies, Inc.                          Attn: Megan W. Murray                                      100 N Tampa St                               Suite 2325                                                    Tampa              FL      33602                    12/19/2022   General Unsecured           $195,770.00              $195,770.00
  625    Berlin Packaging L.L.C.                                   c/o Winston & Strawn LLP                                   Attn: Carrie V Hardman                       200 Park Ave                                                  New York           NY      10166                    12/19/2022   General Unsecured           $218,689.15               unliquidated
         Gerson Lehrman Group, Inc. [GLG, Gerson Lehrman
  626    Group]                                                    c/o Legal Department                                       60 East 42nd Street                          3rd Floor                                                     New York           NY      10165                    12/19/2022 General Unsecured             $137,720.00              $137,720.00
         Corporate Financial Group Ltd. dba Smith Economics
  628    Group Ltd.                                                Attn: Kay Herr                                             1165 N Clark St                              Suite 600                                                     Chicago            IL      60610                    12/19/2022   General Unsecured             $7,053.75                $7,053.75
  629    Silver Eagle Beverages, LLC                               c/o Langley & Banack, Inc.                                 Attn: Natalie F. Wilson                      745 E Mulberry                 Suite 700                      San Antonio        TX      78212                    12/19/2022   General Unsecured           $642,237.00              $642,237.00
  630    Icon Owner Pool 1 LA Non-Business Parks, LLC              c/o Singer & Levick, PC                                    Attn: Michelle E. Shriro                     16200 Addison Rod              Suite 140                      Addison            TX      75001                    12/19/2022   Secured                      $31,087.05                                  $31,087.05
  631    Silver Eagle Beverages, LLC                               c/o Langley & Banack, Inc.                                 Attn: Natalie F. Wilson                      745 E Mulberry                 Suite 700                      San Antonio        TX      78212                    12/19/2022   General Unsecured            $41,516.80                $41,516.80
         Nelson Mullins Riley & Scarborough, LLP (including
  632    through its predecessor in Florida Broad and Cassel)      Attn: Scott D. Knapp and Frank P. Terzo                    100 SE 3rd Ave                               Suite 2700                                                    Fort Lauderdale    FL      33394                    12/19/2022 General Unsecured           $1,668,106.30            $1,668,106.30
                                                                                                                                                                                                                                                                                                        General Unsecured
  633    CI Dal III-V, LLC                                         c/o Singer & Levick, PC                                    Attn: Michelle E. Shriro                     16200 Addison Rod              Suite 140                      Addison            TX      75001                    12/19/2022 Secured                        $16,321.65                 $5,504.25        $10,817.40
  634    Litigation Services and Technologies of California LLC    Attn: Ted Kent                                             3960 Howard Hughes Pkwy                      Suite 700                                                     Las Vegas          NV      89169                    12/19/2022 General Unsecured              $18,565.03                $18,565.03
  635    Shelburne Sherr Court Reporters                           Attn: Sharon Sherr-Remy                                    PO Box 25                                                                                                  Del Mar            CA      92014                    12/19/2022 General Unsecured               $7,614.32                 $7,614.32
  636    Ultra Air Cargo Inc                                       Attn: Darren Pao                                           17256 S Main St                                                                                            Gardena            CA      90248                    12/19/2022 General Unsecured                 $250.00                   $250.00
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                                General Unsecured
  637    Connect Logistix Inc. (clus006214)                        c/o Euler Hermes North America Insurance Company           800 Red Brook Blvd                                                                                         Owings Mills       MD      21117                    12/07/2022 Administrative Priority       $724,497.00              $590,470.36                                        $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                                           General Unsecured
  638    Logistics, Inc (CLUS006447)                               c/o Euler Hermes North America Insurance Company           800 Red Brook Blvd                                                                                         Owing Mills        MD      21117                    12/07/2022 Administrative Priority       $195,828.41               $28,914.02                                        $166,914.39
  639    John H. Owoc                                              c/o Genovese Joblove & Battista, PA                        Attn: Paul J. Battista                       100 SE 2nd St                  44th Floor                     Miami              FL      33131                    12/19/2022 General Unsecured                   $0.00              See Attached
  641    Jason Briggs Osborne                                                                                                 3236 W Huntington Dr                                                                                       Phoenix            AZ      85041                    12/19/2022 General Unsecured                   $0.00                220.000.00
  642    AMA Inc [Alabama Merchants Association]                                                                              3 Riverchase Office Plaza                    Suite 208                                                     Birmingham         AL      35244                    12/19/2022 General Unsecured               $7,268.25                $7,268.25
  643    C.H. Robinson Worldwide, Inc.                                                                                        14701 Charlson Rd                                                                                          Eden Prairie       MN      55347                    12/19/2022 General Unsecured             $723,375.81              $723,375.81
  644    Barbara Ramirez Barbara Eddiesday Rodriguez                                                                          2303 SE 149th Ave                                                                                          Vancouver          WA      98683-8518               12/19/2022 Priority                        $3,500.00                                                 $3,500.00
  645    R&L Carriers, Inc.                                                                                                   600 Gilliam Rd                                                                                             Willmington        OH      45177                    12/19/2022 General Unsecured              $43,102.20               $43,102.20
  646    CSK Cole, Scott & Kissane, PA                                                                                        9150 S Dadeland Blvd                         Suite 1400                                                    Miami              FL      33156-7855               12/19/2022 General Unsecured              $51,422.13               $51,422.13
  647    Todd King                                                                                                            23009 SE 14th St                                                                                           Sammamish          WA      98075-9339               12/19/2022 General Unsecured              $18,290.25               $18,290.25
  648    Eagle Distributing of Memphis, LLC                        Attn: Michael Craig                                        310 Radford Place                                                                                          Knoxville          TN      37917                    12/19/2022 General Unsecured               $4,648.67                $4,648.67
  649    Eagle Distributing Co Inc                                 Attn: Michael Craig                                        310 Radford Place                                                                                          Knoxville          TN      37917                    12/19/2022 General Unsecured              $28,717.47               $28,717.47
  650    Seko Worldwide LLC                                        c/o Bankruptcy Claims Administrative Services, LLC         84 Herbert Ave                               Building B                     Suite 202                      Closter            NJ      07624                    12/19/2022 General Unsecured             $214,416.00              $214,416.00
  651    Baker Tilly, US, LLP                                      Attn: Daniel Lee Powell, Jr.                               Box 78975                                                                                                  Milwakee           WI      53278-8975               12/19/2022 General Unsecured              $60,911.00               $60,911.00
  652    VS Carbonics, Inc.                                        Attn: Scott D. Lehman                                      121 Alhambra Plaza                           Suite 1500                                                    Coral Gables       FL      33134                    12/19/2022 General Unsecured             $328,000.00              $328,000.00
  658    Gregg Ginalick                                                                                                       330 Willow Run                                                                                             Prosper            TX      75078                    12/20/2022 Priority                       $56,278.04                                                $56,278.04
  659    Jump Foods, LLC                                           c/o Cline Williams Wright Johnson & Oldfather, LLP         Attn: John F. Zimmer, V                      233 S 13 St                    Suite 1900                     Lincoln            NE      68508                    12/20/2022 General Unsecured              $25,000.00               $25,000.00
  660    Sunbelt Rentals Inc                                                                                                  2015 Directors Row                                                                                         Orlando            FL      32809                    12/20/2022 General Unsecured             $115,896.60              $115,896.60



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                             Page 6 of 7
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 Claim                                                                                                                                                                                                                                                                                                               General                                         Administrative
  No.                              Name                                                  Attention                              Address 1                  Address 2                    Address 3               City    State       Zip        Country   Date Filed      Amount Class(es)   Total Amount           Unsecured             Secured        Priority       Priority
  661    Maldonado Leal Servicios De Apoio Empresaria L Lida    Attn: Gisela Maldonado                        Av. Paulista, 1765                                                                       Ed. Scarpa      SP       CJ 121       Brazil       12/20/2022   General Unsecured           $8,700.00               $8,700.00
  662    Inmar - YouTech LLC                                    c/o Davis & Jones, LLC                        Attn: Patrick R. Thesing        2521 Brown Blvd                                          Arlington       TX       76006                     12/21/2022   General Unsecured          $28,137.68              $28,137.68
  665    Navigators Insurance Company                           c/o Hartford Fire Insurance Company           Attn: Bankruptcy Unit           HO2-R                         Home Office                Hartford        CT       06155                     12/21/2022   General Unsecured               $0.00   Contingent/Unliquidated
  666    Green Mountain Energy Company                          Bankruptcy Department                         PO Box 1046                                                                              Houston         TX       77251                     12/21/2022   General Unsecured           $1,661.84               $1,661.84
  667    Pettit Kohn Ingrassia Lutz & Dolin, PC                 c/o Rossway Swan Tierney Barry & Oliver, PL   Attn: Thomas W. Tierney, Esq.   2101 Indian River Blvd        Suite 200                  Vero Beach      FL       32960                     12/27/2022   General Unsecured        $280,563.64              $280,563.64
                                                                                                                                                                                                                                                                       General Unsecured
  668    U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance      c/o U.S. Bank Equipment Finance               Attn: Jeffrey J Lothert         1310 Madrid St                                           Marshall        MN       56258                     12/23/2022   Secured                   $41,688.94                $1,788.94      $39,900.00
  669    MEI Rigging & Crating, LLC dba Dunkel Bros             Christina Uitz                                PO Box 1630                                                                              Albany          OR       97321                     12/27/2022   Secured                   $69,443.65                               $69,443.65
  670    Ball Metal Beverage Container Corp.                    Attn: David Westmoreland, Esq.                9200 W 108th Circle                                                                      Westminster     CO       80021                     12/28/2022   General Unsecured     $15,618,036.45           $15,618,036.45
  671    CSPC Innovation Pharmaceutical Co., Ltd.                                                                                                                                                                                                         12/28/2022   General Unsecured        $281,600.00              $281,600.00
  672    Shanghai Freeman Lifescience Co., Ltd.                                                                                                                                                                                                           12/28/2022   General Unsecured        $609,924.00              $609,924.00

  673    TOMRA of North America, Inc [Returnable Services LLC] Attn: Eric J. Jepeal                           One Corporate Dr                Suite 710                                                Shelton         CT       06484                    12/28/2022 General Unsecured            $17,468.12               $17,468.12
  674    Integrated Masonry                                    c/o Radix Law                                  15205 N Kierland Blvd           Suite 200                                                Scottsdale      AZ       85254                    12/28/2022 Secured                     $145,637.00                              $145,637.00
  675    American Arbitration Association                                                                     120 Broadway                    21st Floor                                               New York        NY       10271-2700               12/29/2022 Priority                    $100,649.28                                            $100,649.28




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                    Page 7 of 7
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 Claim                                                                                                                                                                                                                                                                                                                              General                                      Administrative
  No.                         Name                                                        Attention                                          Address 1                     Address 2                        Address 3             City      State     Zip        Country   Date Filed   Amount Class(es)        Total Amount       Unsecured          Secured       Priority       Priority
  276 "Jake" John Fossey Morrow                                                                                              6141 Sherman Cir                                                                              Minneapolis      MN    55436                     12/13/2022 General Unsecured              $48,960.05        $48,960.05
  288 12M Commercial Properties, LLC                              c/o Friday, Eldredge & Clark, LLP                          Attn: L. Raines                 3350 S Pinnacle Hills Pkwy        Suite 301                   Rogers           AR    72758                     12/13/2022 General Unsecured            $136,725.53        $136,725.53
  62 365 Mechanical, LLC                                                                                                     1817 S Horne                    Suite 10                                                      Mesa             AZ    85204-6526                11/03/2022 General Unsecured              $17,471.72        $17,471.72
                                                                  Attn: Amanda B. Childs, Chief Litigation & Investigation
  538   7-Eleven, Inc.                                            Counsel                                                    3200 Hackberry Rd                                                                             Irving           TX    75063                    12/16/2022 General Unsecured           $2,244,199.58       $2,244,199.58
                                                                                                                                                                                                                                                                                      General Unsecured
  299   84.51 LLC                                                 c/o Frost Brown Todd LLP                                   Attn: A.J. Webb                 3300 Great American Tower         301 E 4th St                Cincinnati       OH    45202                    12/14/2022 Administrative Priority        $34,444.06         $32,788.89                                     $1,655.17
  42    A to Z Scales and Calibration LLC                         Attn: Tom Stelzer                                          3515 North 34th Place                                                                         Phoenix          AZ    85018                    10/30/2022 Priority                        $6,206.49                                      $6,206.49
  451   ACAR Leasing Ltd., Inc. d/b/a GM Financial Leasing        c/o Burr & Forman LLP                                      Attn: Christopher R. Thompson   200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022 General Unsecured              $62,214.88         $62,214.88
  301   Action Electric Co, Inc                                   Attn: Denyse Beery                                         2600 Collins Springs Drive SE                                                                 Atlanta          GA    30339                    12/14/2022 General Unsecured              $26,296.04         $26,296.04
  197   Advanced Laboratories Inc.                                Attn: Rich Chludzinski                                     8969 Cleveland Rd                                                                             Clayton          NC    27520                    12/06/2022 General Unsecured                 $729.00            $729.00
  47    Aesus Packaging Systems Inc.                              Attn: Nicola Virgilio and Samantha Lewis                   188 Oneida                                                                                    Pointe-Claire    QC    H9R 1A8      Canada      11/01/2022 General Unsecured              $31,514.75         $31,514.75
  327   AIG Property Casualty, Inc.                               Attn: Kevin J. Larner, Esq.                                28 Liberty St                   Floor 22                                                      New York         NY    10005                    12/15/2022 Administrative Priority             $0.00                                                      Unliquidated
  304   All Brands Distribution, LLC                              c/o LSS Law                                                Attn: Zach B. Shelomith, Esq.   2699 Stirling Rd                  Suite C401                  Ft. Lauderdale   FL    33312                    12/14/2022 General Unsecured             $762,330.91        $762,330.91
  425   All Brands Distribution, LLC                              c/o LSS Law                                                Attn: Zach B. Shelomith, Esq.   2699 Stirling Rd                  Suite C401                  Ft. Lauderdale   FL    33312                    12/15/2022 General Unsecured             $762,330.91        $762,330.91
  111   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                         $8,038.97                        $8,038.97
  112   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                         $8,657.05                        $8,657.05
  113   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                        $24,741.38                       $24,741.38
  114   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                        $24,785.27                       $24,785.27
  115   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                        $30,044.66                       $30,044.66
  116   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                        $30,044.06                       $30,044.06
  117   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                         $8,657.05                        $8,657.05
  118   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                         $8,638.19                        $8,638.19
  119   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/16/2022 Secured                         $8,015.24                        $8,015.24
  160   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    11/30/2022 Secured                        $39,427.01                       $39,427.01
  172   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $24,785.27                       $24,785.27
  173   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $30,044.66                       $30,044.66
  174   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $30,048.67                       $30,048.67
  175   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $30,044.66                       $30,044.66
  177   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $30,049.21                       $30,049.21
  178   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $24,741.38                       $24,741.38
  179   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $24,790.14                       $24,790.14
  180   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $30,049.21                       $30,049.21
  181   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $30,049.21                       $30,049.21
  182   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $30,049.21                       $30,049.21
  183   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/02/2022 Secured                        $24,785.27                       $24,785.27
  204   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  205   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,499.91                        $9,499.91
  207   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  208   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,786.73                       $24,786.73
  209   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,499.91                        $9,499.91
  211   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  212   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $8,643.83                        $8,643.83
  213   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  215   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $7,877.19                        $7,877.19
  216   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  217   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  218   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $56,370.79                       $56,370.79
  219   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,741.38                       $24,741.38
  220   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  221   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  222   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  223   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,741.38                       $24,741.38
  224   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,785.27                       $24,785.27
  225   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  226   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  227   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  228   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  229   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,193.81                        $9,193.81
  230   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,049.21                       $30,049.21
  231   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,515.79                        $9,515.79
  232   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,741.38                       $24,741.38
  233   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,741.38                       $24,741.38
  234   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  235   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,499.91                        $9,499.91
  236   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $8,783.35                        $8,783.35
  237   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,499.91                        $9,499.91
  238   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,497.12                        $9,497.12
  239   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $8,643.83                        $8,643.83
  240   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,566.40                        $9,566.40
  241   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,785.27                       $24,785.27
  242   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,049.21                       $30,049.21
  243   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  244   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                         $9,499.91                        $9,499.91
  245   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  246   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,342.59                       $30,342.59
  247   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $30,044.66                       $30,044.66
  248   Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                  4515 N Santa Fe Ave                                           Oklahoma City    OK    73118                    12/06/2022 Secured                        $24,743.73                       $24,743.73
        Alto Systems, Inc [Alto Xpress, Inc; Alto Freight
  267   Management, Inc]                                          Attn: David White                                          2867 Surveyor St                                                                              Pomona           CA    91768                    12/09/2022   General Unsecured           $218,526.75        $218,526.75
  642   AMA Inc [Alabama Merchants Association]                                                                              3 Riverchase Office Plaza       Suite 208                                                     Birmingham       AL    35244                    12/19/2022   General Unsecured             $7,268.25          $7,268.25
  199   Amanda Morgan (DBA- A mom with a mop)                                                                                12531 Stonebriar Ridge Dr                                                                     Davidson         NC    28036                    12/06/2022   Priority                      $2,625.00                                      $2,625.00
  604   Amazon Web Services, Inc.                                 c/o K&L Gates LLP                                          Attn: Brian Peterson            925 4th Ave                       Suite 2900                  Seattle          WA    98104                    12/19/2022   General Unsecured             $3,250.53          $3,250.53
  675   American Arbitration Association                                                                                     120 Broadway                    21st Floor                                                    New York         NY    10271-2700               12/29/2022   Priority                    $100,649.28                                    $100,649.28
  40    American Express National Bank                            c/o Becket and Lee LLP                                     PO Box 3001                                                                                   Malvern          PA    19355-0701               10/28/2022   General Unsecured                $84.99             $84.99
  64    American Express National Bank                            c/o Becket and Lee LLP                                     PO Box 3001                                                                                   Malvern          PA    19355-0701               11/04/2022   General Unsecured            $68,387.80         $68,387.80
  100   American International Chemical, LLC                      Attn: Todd P Morris                                        2000 W Park Dr                  Suite 300                                                     Westborough      MA    01581                    11/14/2022   General Unsecured            $19,887.50         $19,887.50
  26    American International Foods, Inc.                        Attn: Scott Goldberg                                       8066 Fulton St E                                                                              Ada              MI    49301                    10/26/2022   General Unsecured           $134,989.69        $134,989.69
  362   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $10,454.04                       $10,454.04
  363   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $16,328.74                       $16,328.74
  364   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $16,328.74                       $16,328.74
  365   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                       $6,653.83                        $6,653.83
  368   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                       $6,683.81                        $6,683.81
  369   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $40,038.94                       $40,038.94
  370   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $39,704.35                       $39,704.35
  371   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                       $6,921.63                        $6,921.63
  372   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                       $7,052.56                        $7,052.56
  373   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                       $6,835.13                        $6,835.13
  374   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $40,057.85                       $40,057.85
  375   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                       $6,816.28                        $6,816.28
  376   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $39,922.36                       $39,922.36
  377   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $38,366.15                       $38,366.15
  378   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $39,724.78                       $39,724.78
  379   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $41,217.81                       $41,217.81
  380   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $41,237.28                       $41,237.28
  381   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $40,057.85                       $40,057.85
  382   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $38,780.53                       $38,780.53
  383   AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson    200 S Orange Ave                  Suite 800                   Orlando          FL    32801                    12/15/2022   Secured                      $11,146.42                       $11,146.42



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                Page 1 of 7
                                                                                                       Case 22-17842-PDR                                     Doc 590                      Filed 12/30/22                          Page 9 of 14
                                                                                                                                                             Claims Register as of 12/30/2022
                                                                                                                                                                      Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                              General                             Administrative
  No.                             Name                                                     Attention                    Address 1                Address 2                    Address 3                 City    State       Zip    Country   Date Filed      Amount Class(es)   Total Amount       Unsecured   Secured       Priority     Priority
  384    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $7,052.56                 $7,052.56
  385    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $40,089.92                $40,089.92
  386    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $45,184.99                $45,184.99
  387    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,138.82                $11,138.82
  388    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,138.82                $11,138.82
  389    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,138.82                $11,138.82
  390    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,139.39                $11,139.39
  391    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,874.50                 $6,874.50
  392    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,874.50                 $6,874.50
  393    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,138.82                $11,138.82
  394    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $40,089.92                $40,089.92
  395    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $39,974.31                $39,974.31
  396    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,138.82                $11,138.82
  397    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,835.13                 $6,835.13
  398    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,835.60                 $6,835.60
  399    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  400    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  401    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  402    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  403    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  404    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  405    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  406    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  407    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  408    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,337.51                $16,337.51
  409    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,138.82                $11,138.82
  410    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  411    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,376.15                $11,376.15
  412    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $13,507.65                $13,507.65
  413    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $13,502.54                $13,502.54
  414    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $13,508.61                $13,508.61
  415    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  416    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $13,507.65                $13,507.65
  417    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $14,469.69                $14,469.69
  418    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  419    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,520.50                $11,520.50
  420    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $13,502.54                $13,502.54
  421    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,385.08                $34,385.08
  422    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  424    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,380.49                $34,380.49
  426    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  428    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,389.88                $34,389.88
  429    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  430    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $24,909.44                $24,909.44
  431    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $10,712.89                $10,712.89
  432    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  433    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  434    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,390.31                $34,390.31
  435    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $10,684.19                $10,684.19
  436    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,390.31                $34,390.31
  437    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  438    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,392.89                $34,392.89
  439    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  440    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  441    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  442    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  443    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $10,617.07                $10,617.07
  444    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  445    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $10,517.86                $10,517.86
  446    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $10,242.64                $10,242.64
  447    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $10,615.21                $10,615.21
  448    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $10,550.89                $10,550.89
  449    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  450    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  452    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $9,436.48                 $9,436.48
  453    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $33,312.53                $33,312.53
  454    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,328.74                $16,328.74
  455    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $16,337.51                $16,337.51
  456    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $15,108.18                $15,108.18
  458    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  461    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  464    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $39,723.09                $39,723.09
  466    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $39,724.78                $39,724.78
  467    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,835.13                 $6,835.13
  468    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $41,217.81                $41,217.81
  469    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,376.15                $11,376.15
  470    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $40,059.55                $40,059.55
  471    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $13,502.54                $13,502.54
  472    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,391.50                $34,391.50
  473    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,138.82                $11,138.82
  474    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,683.81                 $6,683.81
  475    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $5,256.36                 $5,256.36
  476    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $7,441.68                 $7,441.68
  477    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,882.74                 $6,882.74
  480    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $13,507.65                $13,507.65
  481    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                     $6,835.13                 $6,835.13
  482    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $51,413.09                $51,413.09
  484    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $14,469.69                $14,469.69
  485    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $43,739.61                $43,739.61
  486    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $43,692.30                $43,692.30
  487    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $41,940.29                $41,940.29
  489    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  491    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $34,393.05                $34,393.05
  492    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  493    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $17,715.67                $17,715.67
  494    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,917.08                $11,917.08
  495    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,917.08                $11,917.08
  497    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,911.50                $11,911.50
  498    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,917.08                $11,917.08
  499    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $51,413.09                $51,413.09
  507    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $51,413.09                $51,413.09
  508    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $51,143.09                $51,143.09
  509    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $11,376.15                $11,376.15
  510    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $43,734.69                $43,734.69
  511    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $43,734.71                $43,734.71
  512    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $43,726.35                $43,726.35
  513    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $43,729.39                $43,729.39
  515    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP               Attn: Christopher R Thompson   200 S Orange Ave            Suite 800                   Orlando          FL       32801                 12/15/2022   Secured                    $43,729.39                $43,729.39



In re: Vital Pharmaceuticals, Inc.
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                                                                                                                        Case 22-17842-PDR                                                       Doc 590                        Filed 12/30/22                                Page 10 of 14
                                                                                                                                                                                                     Claims Register as of 12/30/2022
                                                                                                                                                                                                              Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                                               General                                            Administrative
  No.                              Name                                                   Attention                                        Address 1                               Address 2                           Address 3                 City       State       Zip      Country   Date Filed      Amount Class(es)      Total Amount       Unsecured               Secured        Priority       Priority
  516    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  518    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  520    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $43,734.54                            $43,734.54
  523    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  524    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $43,729.39                            $43,729.39
  526    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  528    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  531    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  533    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  537    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $51,413.09                            $51,413.09
  543    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                  Suite 800                      Orlando           FL       32801                   12/15/2022   Secured                       $17,715.67                            $17,715.67
  289    Ameris Bank d/b/a Balboa Capital                          c/o McGlinchey Stafford, PLLC                         Attn: Ralph Confreda, Jr.                      1 E Broward Blvd                  Suite 1400                     Fort Lauderdale   FL       33301                   12/13/2022   General Unsecured           $443,949.40          $443,949.40
  68     AMEX TRS Co., Inc.                                        c/o Becket and Lee LLP                                PO Box 3001                                                                                                     Malvern           PA       19355-0701              11/08/2022   General Unsecured           $122,439.17          $122,439.17
  69     AMEX TRS Co., Inc.                                        c/o Becket and Lee LLP                                PO Box 3001                                                                                                     Malvern           PA       19355-0701              11/08/2022   General Unsecured             $17,246.14          $17,246.14
  81     AMEX TRS Co., Inc.                                        c/o Becket and Lee LLP                                PO Box 3001                                                                                                     Malvern           PA       19355-0701              11/09/2022   General Unsecured             $45,876.78          $45,876.78
  104    AMEX TRS Co., Inc.                                        c/o Becket and Lee LLP                                PO Box 3001                                                                                                     Malvern           PA       19355-0701              11/14/2022   General Unsecured             $92,831.74          $92,831.74
  107    AMEX TRS Co., Inc.                                        c/o Becket and Lee LLP                                PO Box 3001                                                                                                     Malvern           PA       19355-0701              11/15/2022   General Unsecured             $53,040.80          $53,040.80
  24     AMMS, Inc.                                                Attn: Amy McLaughlin                                  16043 Agincourt Dr                                                                                              Huntersville      NC       28078                   10/26/2022   General Unsecured             $22,440.00          $22,440.00
  149    Anayansi Ramirez                                                                                                1421 W Ocotillo Rd                                                                                              Phoenix           AZ       85013                   11/28/2022   Priority                      $20,017.00                                          $20,017.00
  171    Andersen Material Handling                                Attn: Kevin J. Godin                                  30575 Anderson Ct                                                                                               Wixom             MI       48393                   12/02/2022   General Unsecured             $60,156.00          $60,156.00
  166    Ankus Consulting, Inc.                                    Attn: Joseph E. Ankus, Esq.                           12555 Orange Dr                                Suite 4207                                                       Davie             FL       33330                   12/02/2022   General Unsecured             $21,334.00          $21,334.00
  214    Apex Refrigeration & Boiler Co.                           Attn: Erik Rasmussen                                  2801 W Willetta St                                                                                              Phoenix           AZ       85009                   12/07/2022   General Unsecured             $38,973.52          $38,973.52
  135    Aqua House Inc. [Aqua House Beverage]                                                                           4999 South Lulu Ave                                                                                             Wichita           KS       67216                   11/21/2022   General Unsecured             $19,874.14          $19,874.14
  423    Aquionics, Inc                                            c/o Bankruptcy Claims Administrative Services, LLC    84 Herbert Ave                                 Building B                        Suite 202                      Closter           NJ       07624                   12/15/2022   General Unsecured             $34,764.97          $34,764.97
  319    Archer Daniels Midland Company [Wild Flavors, Inc.]       Attn: Mark H Speiser                                  4666 Fairies Pkwy                                                                                               Decatur           IL       62526                   12/14/2022   General Unsecured         $1,117,812.02        $1,117,812.02
  358    Ardagh Metal Packaging USA Corp.                          c/o Shumaker, Loop & Kendrick, LLP                    Attn: David Conaway                            101 S Tryon St                    Suite 2200                     Charlotte         NC       28280                   12/16/2022   General Unsecured        $11,394,078.77       $11,394,078.77
  555    Arista Music                                              Attn: Wade Leak, Esq.                                 25 Madison Ave                                 22nd Floor                                                       New York          NY       10010                   12/18/2022   General Unsecured           $750,000.00          $750,000.00
  562    Arista Records LLC                                        Attn: Wade Leak                                       25 Madison Ave                                 22nd Floor                                                       New York          NY       10010                   12/18/2022   General Unsecured         $1,100,000.00        $1,100,000.00
                                                                                                                         Attn: Office of the Arizona Attorney General -                                                                                                                                  General Unsecured
  279    ARIZONA DEPARTMENT OF REVENUE                             c/o Tax, Bankruptcy and Collection Sct                BCE                                            2005 N Central Ave                Suite 100                      Phoenix           AZ       85004                  12/13/2022    Priority                    $324,615.22            $7,600.53                     $317,014.69
  46     Assemblers Inc.                                           Attn: Scott Clary                                     2850 W Columbus Ave                                                                                             Chiago            IL       60652                  11/01/2022    General Unsecured           $228,035.84          $228,035.84
  600    Atlanta Retailers Association, LLC                        c/o Jaffer Law, P.C.                                  Attn: Mary E. Meyer, Esq.                      3538 Habersham at Northlake       Building D                     Tucker            GA       30084                  12/19/2022    General Unsecured            $69,698.87           $69,698.87
  14     Atlas Copco Compressors LLC                                                                                     48430 Milmont Dr                                                                                                Fremont           CA       94538                  10/24/2022    General Unsecured             $7,081.53            $7,081.53
  140    Atlas Sales Inc.                                                                                                2955 Columbia Ave W                                                                                             Battle Creek      MI       49015-8640             11/22/2022    General Unsecured             $1,957.38            $1,957.38
  151    Atmos Energy Corporation                                  Attn: Bnkrpt Group                                    PO Box 650205                                                                                                   Dallas            TX       75265-0205             11/28/2022    General Unsecured               $371.48              $371.48
  21     Averell Luedecker                                                                                               22 Allison Park                                                                                                 Brewer            ME       04412                  10/25/2022    General Unsecured         $2,314,688.21        $2,314,688.21
  621    AXS Law Group, PLLC.                                      Attn: Courtney Caprio                                 2121 NW 2nd Ave                                Suite 201                                                        Miami             FL       33127                  12/19/2022    General Unsecured            $17,880.00           $17,880.00
  651    Baker Tilly, US, LLP                                      Attn: Daniel Lee Powell, Jr.                          Box 78975                                                                                                       Milwakee          WI       53278-8975             12/19/2022    General Unsecured            $60,911.00           $60,911.00
  541    Ball Metal Beverage Container Corp.                       Attn: David Westmoreland, Esq.                        9200 W 108th Circle                                                                                             Westminster       CO       80021                  12/18/2022    General Unsecured        $15,723,767.45       $15,723,767.45
  670    Ball Metal Beverage Container Corp.                       Attn: David Westmoreland, Esq.                        9200 W 108th Circle                                                                                             Westminster       CO       80021                  12/28/2022    General Unsecured        $15,618,036.45       $15,618,036.45
  644    Barbara Ramirez Barbara Eddiesday Rodriguez                                                                     2303 SE 149th Ave                                                                                               Vancouver         WA       98683-8518             12/19/2022    Priority                      $3,500.00                                            $3,500.00
  27     Barrington Nutritionals                                   Attn: Cathy Annattone                                 500 Mamaroneck Ave                                                                                              Harrison          NY       10528                  10/26/2022    General Unsecured               $974.55              $974.55
  282    Berkeley Research Group LLC [BRG]                         c/o Accounts Receivable                               2200 Powell St                                 Suite 1200                                                       Emeryville        CA       94608                  12/13/2022    General Unsecured             $7,562.98            $7,562.98
  625    Berlin Packaging L.L.C.                                   c/o Winston & Strawn LLP                              Attn: Carrie V Hardman                         200 Park Ave                                                     New York          NY       10166                  12/19/2022    General Unsecured           $218,689.15           unliquidated
  597    Bottling Group, LLC                                       c/o FrankGecker LLP                                   Attn: Joseph D Frank                           1327 W Washington Blvd            Suite 5 G-H                    Chicago           IL       60607                  12/19/2022    General Unsecured           $159,686.32          $159,686.32
         Brendan Abbott, individually and on behalf of a
   87    nationwide class of similarly-situated consumers          c/o Harvath Law Group, LLC                            Attn: Daniel Harvath                             75 W Lockwood                   Suite 1                        Webster Groves    MO       63119                   11/09/2022 General Unsecured         $173,000,000.00      $173,000,000.00
         Brendan Abbott, Peter Fischer, and Carlton Harris, Each
         Individually and on Behalf of a Nationwide Class of
  617    Similarly-Situated Consumers                              c/o Pack Law, P.A.                                    Attn: Jessey James Krehl                         51 NE 24th St                   Suite 108                      Miami             FL       33137                  12/19/2022    General Unsecured                 $0.00    500 million; unliquid
  525    Briggs Equipment Inc                                      c/o Hicks Law Group PLLC                              Attn: Kevin S. Wiley Jr                          325 N St Paul St                Suite 4400                     Dallas            TX       75201                  12/16/2022    General Unsecured           $679,072.01         $679,072.01
  529    Brookshire Brothers, Inc.                                                                                       1201 Ellen Trout Dr                                                                                             Lufkin            TX       75904                  12/16/2022    General Unsecured            $66,720.00            $66,720.00
  88     Broward County [Broward County Tax Collector]             c/o Records, Taxes & Treasury                         Attn: Bankruptcy Section                         115 S Andrews Ave               Suite A-100                    Ft. Lauderdale    FL       33301                  11/10/2022    Secured                      $81,917.85                             $81,917.85
  89     Broward County [Broward County Tax Collector]             c/o Records, Taxes & Treasury                         Attn: Bankruptcy Section                         115 S Andrews Ave               Suite A-100                    Ft. Lauderdale    FL       33301                  11/10/2022    Secured                      $21,290.03                             $21,290.03
  90     Broward County [Broward County Tax Collector]             c/o Records, Taxes & Treasury                         Attn: Bankruptcy Section                         115 S Andrews Ave               Suite A-100                    Ft. Lauderdale    FL       33301                  11/10/2022    Secured                      $22,757.63                             $22,757.63
  105    BW Flexible Systems, LLC                                                                                        225 Spartangreen Blvd                                                                                           Duncan            SC       29334                  11/11/2022    General Unsecured             $6,308.54             $6,308.54
                                                                                                                                                                                                                                                                                                         General Unsecured
  192    Byline Financial Group [BFG Corporation]                  Attn: Robert Condon                                   2801 Lakeside Dr                                 Suite 212                                                      Bannockburn       IL       60015                  12/06/2022    Secured                      $77,462.25            $7,462.25        $70,000.00
  643    C.H. Robinson Worldwide, Inc.                                                                                   14701 Charlson Rd                                                                                               Eden Prairie      MN       55347                  12/19/2022    General Unsecured           $723,375.81          $723,375.81
  150    C.K.S. Packaging, Inc.                                    c/o Jackson Walker LLP                                Attn: Bruce J. Ruzinsky                          1401 McKinney St                Suite 1900                     Houston           TX       77010                  11/28/2022    Secured                      $27,533.78                             $27,533.78
   3     Canon Financial Services, Inc.                                                                                  158 Gaither Dr                                                                                                  Mount Laurel      NJ       08054                  10/18/2022    General Unsecured           $177,737.75          $177,737.75
  360    Capitol Records, LLC                                      Attn: JoAn Cho                                        222 Colorado Ave                                                                                                Santa Monica      CA       90404                  12/16/2022    General Unsecured           $300,000.00          $300,000.00
         Carolina Canners, Inc. [Southeast Cold Fill, LLC, NoSo                                                          Attn: Craig I. Kelley, Esq., & C. Craig Eller,
  176    Holdings, LLC]                                            c/o Kelley Fulton Kaplan & Eller PL                   Esq.                                             1665 Palm Beach Lakes Blvd      The Forum, Suite 1000          West Palm Beach   FL       33401                  12/02/2022    General Unsecured       $309,652,418.47      $309,652,418.47
  97     Carrollton-Farmers Branch Independent School District     c/o Perdue Brandon Fielder Et Al                      Attn: Linda D Reece                              1919 S Shiloh Rd                Suite 640, LB 40               Garland           TX       75042                  11/11/2022    Secured                      $14,507.60                             $14,507.60
  48     Cascade Columbia Distribution Company                     Attn: Kyle Code                                       6900 Fox Ave South                                                                                              Seattle           WA       98108                  11/01/2022    General Unsecured            $14,394.19           $14,394.19
  53     Casey's General Stores                                    Attn: Legal Department                                1 SE Convenience Blvd                                                                                           Ankeny            IA       50021                  11/02/2022    General Unsecured            $77,107.46           $77,107.46
  293    Centimark Corporation [Questmark]                                                                               12 Grandview Circle                                                                                             Canonsburg        PA       15317                  12/14/2022    General Unsecured             $4,000.00            $4,000.00
  349    Centimark Corporation [Questmark]                                                                               12 Grandview Circle                                                                                             Canonsburg        PA       15317                  12/15/2022    General Unsecured            $35,923.30           $35,923.30
  527    Cherokee Chemical Co, Inc [CCI Chemical]                  c/o Schell Nuelle LLP                                 269 West Bonita                                                                                                 Claremont         CA       91711                  12/19/2022    General Unsecured           $147,936.80          $147,936.80
  361    Cheryl Ohel                                               c/o Kleppin Law Firm                                  Attn: Chris Kleppin, Allyson Kisiel              8751 W Broward Blvd             Suite 105                      Plantation        FL       33324                  12/16/2022    General Unsecured         $5,000,000.00        $5,000,000.00
  624    Chestnut Hill Technologies, Inc.                          Attn: Megan W. Murray                                 100 N Tampa St                                   Suite 2325                                                     Tampa             FL       33602                  12/19/2022    General Unsecured           $195,770.00          $195,770.00
  270    Christopher Lee Weatherford                               Attn: Chris Weatherford                               1213 Warbler Dr                                                                                                 Forney            TX       75126-7755             12/12/2022    Priority                     $55,200.00                                           $55,200.00
         Chrysler Capital [Santander Consumer USA Inc., an
  253    Illinois corporation d/b/a Chrysler Capital]              Attn: Abel Marin                                      PO Box 961275                                                                                                   Fort Worth        TX       76161                   12/08/2022 Secured                        $12,158.95                             $12,158.95
  331    Chubb Custom Insurance Company                            c/o Duane Morris LLP                                  Attn: Wendy M. Simkulak                          30 S 17th St                                                   Philadelphia      PA       19103-4196              12/15/2022 Administrative Priority       $565,300.00                                                            $565,300.00
                                                                                                                                                                                                                                                                                                       General Unsecured
  633    CI Dal III-V, LLC                                         c/o Singer & Levick, PC                               Attn: Michelle E. Shriro                         16200 Addison Rod               Suite 140                      Addison           TX       75001                   12/19/2022 Secured                        $16,321.65             $5,504.25       $10,817.40
         CI421 4747 W. Buckeye LLC, ALDA 4747 W. Buckeye
  311    LLC and MFP 4747 W. Buckeye LLC                           c/o Raines Feldman LLP                                Attn: Hamid R. Rafatjoo                          1800 Avenue of the Stars        12th Floor                     Los Angeles       CA       90067                  12/14/2022 General Unsecured           $23,455,389.00       $23,455,389.00
                                                                                                                                                                                                                                                                                                      General Unsecured
  195    Cintas Corporation [VPX/Redline]                          Attn: Ann Dean, Litigation Paralegal                  6800 Cintas Blvd                                                                                                Mason             OH       45040                  12/06/2022 Administrative Priority          $6,847.98            $2,575.22                                         $4,272.76
  302    CK Waitt Industrial, LLC                                  c/o Parker, Poe, Adams & Bernstein LLP                Attn: Chip Ford                                  620 S Tryon St                  Suite 800                      Charlotte         NC       28202                  12/15/2022 General Unsecured               $38,901.05           $38,901.05
  196    Closure Systems International [CSI, CSI Closures]         c/o Ice Miller LLP                                    Attn: Jeffrey A. Hokanson                        One American Square             Suite 2900                     Indianapolis      IN       46282-0200             12/06/2022 General Unsecured               $53,602.40           $53,602.40
  606    Colgems-EMI Music Inc.                                    Attn: David Przygoda                                  25 Madison Ave                                   26th Floor                                                     New York          NY       10010                  12/19/2022 General Unsecured              $150,000.00          $150,000.00
         Corporate Financial Group Ltd. dba Smith Economics
  628    Group Ltd.                                                Attn: Kay Herr                                        1165 N Clark St                                  Suite 600                                                      Chicago           IL       60610                  12/19/2022 General Unsecured                $7,053.75             $7,053.75
                                                                                                                                                                                                                                                                                                      General Unsecured
  271    Crown Cork & Seal USA, Inc.                               c/o Dilworth Paxson LLP                               Attn: Anne Aaronson, Esq.                        1500 Market St                  Suite 3500E                    Philadelphia      PA       19102                  12/12/2022 Secured                     $13,762,585.26       $12,903,596.00       $858,989.26
  162    Crown Equipment Corporation [Crown Lift Trucks]           c/o Sebaly Shillito + Dyer                            Attn: James A. Dyer                              40 N Main St                    Suite 1900                     Dayton            OH       45423                  12/01/2022 General Unsecured                $1,249.32            $1,249.32
         Crown Equipment Corporation dba Crown Credit                                                                                                                                                                                                                                                 General Unsecured
  163    Company                                                   c/o Sebaly Shillito + Dyer                            Attn: James A. Dyer                              40 N Main St                    Suite 1900                     Dayton            OH       45423                  12/01/2022 Secured                        $130,150.65            $3,005.65       $127,145.00
  646    CSK Cole, Scott & Kissane, PA                                                                                   9150 S Dadeland Blvd                             Suite 1400                                                     Miami             FL       33156-7855             12/19/2022 General Unsecured               $51,422.13           $51,422.13
  671    CSPC Innovation Pharmaceutical Co., Ltd.                                                                                                                                                                                                                                          12/28/2022 General Unsecured              $281,600.00          $281,600.00
  91     CSPC Innovation USA Inc                                   Attn: Vicki Chen                                      1500 S Archibald Ave                                                                                            Ontario           CA       91761                  11/10/2022 General Unsecured              $281,600.00          $281,600.00
  190    Cumberland Farms, Inc. [EG Retail America LLC]            Attn: Pamela Sinnett, Paralegal                       165 Flanders Rd                                                                                                 Westborough       MA       01581                  12/06/2022 General Unsecured              $212,627.15          $212,627.15
  102    CW Carriers Dedicated Inc.                                                                                      3632 Queen Palm Dr                               Suite 175                                                      Tampa             FL       33619                  11/14/2022 General Unsecured              $552,388.01          $552,388.01
  130    Cyber Marketing Network, Inc [Steel-Toe-Shoes.com]                                                              800 Wisconsin St                                 Unit 15                                                        Eau Claire        WI       54703-3560             11/21/2022 General Unsecured                $2,625.48            $2,625.48
  357    Dairy Farmers of America, Inc.                            Attn: William J. Easley                               1200 Main Street                                 Suite 3800                                                     Kansas City       MO       64105                  12/16/2022 General Unsecured           $20,683,801.49       $20,683,801.49
  598    Daisy Duke Promotions LLC                                 Attn: Roger Heinrich                                  7132 Washington St                                                                                              Kansas City       MO       64114-1343             12/19/2022 General Unsecured              $318,663.00          $318,663.00
  355    Daniel Yepes                                              c/o The Frazer Firm, PA                               Attn: Kent Frazer                                601 Heritage Dr                 Suite 220                      Jupiter           FL       33458                  12/16/2022 General Unsecured                    $0.00             unknown
  60     Datasite LLC [Merrill Communications LLC]                 Attn: Leif Simpson                                    The Baker Center                                 733 Marquette Ave               Suite 600                      Minneapolis       MN       55402                  11/03/2022 General Unsecured                  $686.87              $686.87
  354    Dennemeyer & Associates LLC                                                                                     2 North Riverside Plaza                          Suite 1500                                                     Chicago           IL       60606                  12/16/2022 General Unsecured                $6,437.60            $6,437.60
  556    Direct Connect Logistix, Inc                              Attn: Marc Vreeland                                   314 West Michigan St                                                                                            Indianapolis      IN       46202                  12/19/2022 General Unsecured              $722,497.36          $722,497.36
  61     Diversified Label Images, Inc. [DLI]                      Attn: Gregory Boggis                                  PO Box 101269                                                                                                   Irondale          AL       35210                  11/03/2022 General Unsecured               $14,491.93           $14,491.93
  82     Doehler USA Inc.                                          c/o Coface North America Insurance Company            Attn: Amy Schmidt                                650 College Road E              Suite 2005                     Princeton         NJ       08540                  11/09/2022 General Unsecured           $13,357,532.27       $13,357,532.27
  547    Doehler USA Inc.                                          c/o Bryan Cave Leighton Paisner LLP                   Attn: Jarret P. Hitchings, Esq.                  One Wells Fargo Center          301 S College St, Suite 2150   Charlotte         NC       28202                  12/16/2022 General Unsecured           $26,895,664.85       $26,895,664.85




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                       Page 3 of 7
                                                                                                                       Case 22-17842-PDR                                                 Doc 590                    Filed 12/30/22                                Page 11 of 14
                                                                                                                                                                                          Claims Register as of 12/30/2022
                                                                                                                                                                                                   Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                                    General                                          Administrative
  No.                                Name                                                   Attention                                     Address 1                          Address 2                      Address 3              City         State       Zip      Country   Date Filed      Amount Class(es)        Total Amount      Unsecured             Secured        Priority       Priority
                                                                                                                                                                                                                                                                                             General Unsecured
  540    Dogwood Propco FL, L.P.                                  Attn: John M. Spencer                                 1420 E 7th St                                                                                      Charlotte            NC      28207                   12/16/2022   Secured                        $44,504.90         $33,996.13       $10,508.77
  284    Donald Conte                                                                                                   39915 E River Ct                                                                                   Clinton Township     MI      48038                   12/14/2022   General Unsecured              $22,400.00         $22,400.00
  353    Donna Williams [The Kleppin Law Firm]                                                                          4846 NW 95th Ave                                                                                   Sunrise              FL      33351                   12/15/2022   General Unsecured           $3,000,000.00      $3,000,000.00
  545    Donna Williams vs. VPX & Owoc (2020)                     Attn: Donna Lorie Williams                            4846 NW 95th Ave                                                                                   Sunrise              FL      33351                   12/17/2022   General Unsecured           $3,000,000.00      $3,000,000.00
  155    Driscoll, LLLP                                           c/o Seese, P.A.                                       Attn: Michael D. Seese, Esq.           101 NE 3rd Ave                  Suite 1270                  Fort Lauderdale      FL      33301                   11/29/2022   General Unsecured             $249,313.24        $249,313.24
  106    DSD Partners, LLC                                        Attn: Brigid Prescott-Frank                           10800 Midlothian Tnpk                  Suite 300                                                   North Chesterfield   VA      23235                   11/15/2022   General Unsecured                 $721.87            $721.87
  542    Eagle Distributing Co Inc                                Attn: Michael Craig                                   310 Radford Place                                                                                  Knoxville            TN      37917                   12/16/2022   General Unsecured              $64,000.00         $64,000.00
  649    Eagle Distributing Co Inc                                Attn: Michael Craig                                   310 Radford Place                                                                                  Knoxville            TN      37917                   12/19/2022   General Unsecured              $28,717.47         $28,717.47
  648    Eagle Distributing of Memphis, LLC                       Attn: Michael Craig                                   310 Radford Place                                                                                  Knoxville            TN      37917                   12/19/2022   General Unsecured               $4,648.67          $4,648.67
  108    EastGroup Properties, L.P.                               c/o Thomas L. Abrams, Esq.                            633 S Andrews Ave                      Suite 500                                                   Fort Lauderdale      FL      33301                   11/15/2022   General Unsecured           $1,982,451.70      $1,982,451.70
  142    Econ One Research                                        Attn: Trent Revic                                     550 South Hope St                      Suite 800                                                   Los Angeles          CA      90017                   11/22/2022   General Unsecured             $192,939.37        $192,939.37
  321    EFL Container Lines LLC                                  c/o Gibbons P.C.                                      Attn: Brett S. Theisen                 One Penn Plaza                  37th Floor                  New York             NY      10119-3701              12/15/2022   General Unsecured             $372,677.15        $372,677.15
  530    EFL Container Lines LLC                                  c/o Gibbons P.C.                                      Attn: Brett S. Theisen                 One Penn Plaza                  37th Floor                  New York             NY      10119-3701              12/16/2022   General Unsecured             $392,598.15        $392,598.15
  320    EFL Global LLC                                           c/o Gibbons PC                                        Attn: Brett S. Theisen                 One Penn Plaza                  37th Floor                  New York             NY      10119-3701              12/15/2022   General Unsecured           $2,164,149.33      $2,164,149.33
  532    EFL Global LLC                                           c/o Gibbons PC                                        Attn: Brett S. Theisen                 One Penn Plaza                  37th Floor                  New York             NY      10119-3701              12/16/2022   General Unsecured           $2,181,995.15      $2,181,995.15
  347    EFL Global Logistics Canada Ltd                          c/o Gibbons PC                                        Attn: Brett S. Theisen, Esq            One Gateway Ctr                                             Newark               NJ      07102-5310              12/15/2022   General Unsecured                 $328.83            $328.83
  615    EMI April Music Inc.                                     Attn: David Przygoda                                  25 Madison Ave                         26th Floor                                                  New York             NY      10010                   12/19/2022   General Unsecured           $2,225,000.00      $2,225,000.00
  616    EMI Blackwood Music Inc.                                 Attn: David Przygoda                                  25 Madison Ave                         26th Floor                                                  New York             NY      10010-8601              12/19/2022   General Unsecured             $875,000.00        $875,000.00
  310    Emory & Co., LLC                                         Attn: John Emory Jr                                   250 E Wisconsin Ave                    Suite 910                                                   Milwaukee            WI      53202                   12/14/2022   General Unsecured              $29,360.00         $29,360.00
  258    EmpHire Staffing, Inc.                                   c/o Fox Rothschild LLP                                Attn: Heather L. Ries                  777 S Flagler Dr                Suite 1700 West Tower       West Palm Beach      FL      33401                   12/09/2022   General Unsecured              $23,169.18         $23,169.18
  548    England Logistics, Inc.                                  Attn: Justin Olsen                                    1325 S 4700 W                                                                                      Salt Lake City       UT      84104                   12/17/2022   General Unsecured           $1,518,736.63      $1,518,736.63
  44     Environmental Marketing Services                         Attn: Coral Shively                                   107 Wall St                            Suite 1                                                     Clemson              SC      29631                   11/01/2022   General Unsecured                 $414.00            $414.00
  296    Erik McKee                                                                                                     2824 E Fox Chase Circle                                                                            Doylestown           PA      18902                   12/14/2022   Priority                       $36,000.00                                        $36,000.00
         Euler Hermes agent for Trinity Logistics, Inc.
  128    (CLUS006128)                                             Attn: Halima Qayoom                                   800 Red Brook Blvd                     Suite 400 C                                                 Owings Mills         MD      21117                   11/21/2022 General Unsecured             $5,744,571.33      $5,744,571.33
         Euler Hermes N. A. Insurance Co. as Agent for the
  122    Hamilton Group Delaware Inc Factor for Virun Inc.                                                              800 Red Brook Blvd                     Suite 400 C                                                 Owings Mills         MD      21117                   11/17/2022 General Unsecured               $189,784.35       $189,784.35
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                   General Unsecured
  264    Connect Logistix Inc. (clus006214)                       c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd                                                                                 Owings Mills         MD      21117                   12/09/2022 Administrative Priority         $724,497.00       $590,470.36                                        $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                   General Unsecured
  637    Connect Logistix Inc. (clus006214)                       c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd                                                                                 Owings Mills         MD      21117                   12/07/2022 Administrative Priority         $724,497.00       $590,470.36                                        $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                              General Unsecured
  265    Logistics, Inc (clus006447)                              c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd                                                                                 Owing Mills          MD      21117                   12/09/2022 Administrative Priority         $195,828.41         $28,914.02                                       $166,914.39
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                              General Unsecured
  638    Logistics, Inc (CLUS006447)                              c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd                                                                                 Owing Mills          MD      21117                   12/07/2022 Administrative Priority         $195,828.41         $28,914.02                                       $166,914.39
  202    Evoqua Water Technologies LLC                            Attn: Matthew Morin                                   558 Clark Rd                                                                                       Tewksbury            MA      01876                   12/07/2022 General Unsecured                $13,536.35         $13,536.35
  85     Extreme Process Solutions, LLC                           Attn: Chris Mills                                     5030 SW 29th Ave                                                                                   Fort Lauderdale      FL      33312                   11/09/2022 General Unsecured                 $2,278.00          $2,278.00
  273    Fabco Metal Products, LLC                                Attn: Shane King                                      1490 Frances Dr                                                                                    Daytona Beach        FL      32124                   12/12/2022 Secured                       $2,160,783.76                        $2,160,783.76
  286    Fabco Metal Products, LLC                                Attn: Shane King                                      1490 Frances Dr                                                                                    Daytona Beach        FL      32124                   12/14/2022 Secured                       $2,160,783.76                        $2,160,783.76
  620    Faith Technologies Incorporated                          Attn: Ken Baumgart                                    201 Main St                            PO Box 260                                                  Menasha              WI      54952                   12/19/2022 Secured                       $3,584,788.15                        $3,584,788.15
                                                                                                                                                                                                                                                                                                                                                                                                  565300 plus
  322    Federal Insurance Company                                c/o Duane Morris LLP                                  Attn: Wendy M. Simkulak                30 S 17th St                                                Philadelphia         PA      19103-4196              12/14/2022 Administrative Priority         $565,300.00                                                     additional amounts
  534    FedEx                                                    c/o Bankruptcy Department                             3965 Airways Blvd                      Module G 3rd Floor                                          Memphis              TN      38116-5017              12/16/2022 General Unsecured               $633,873.21       $633,873.21
                                                                                                                                                                                                                                                                                           General Unsecured
  514    Fiesta Warehousing & Distribution Co.                    Attn: Steven J. Solomon                               333 SE 2nd Ave                         Suite 3200                                                  Miami                FL      33131                   12/16/2022 Secured                         $390,773.07            Unknown      $390,773.07
  517    Fiesta Warehousing & Distribution Co.                    Attn: Steven J. Solomon                               333 SE 2nd Ave                         Suite 3200                                                  Miami                FL      33131                   12/16/2022 General Unsecured                     $0.00       Unliquidated *
  45     Fintech [STX Business Solutions]                         Attn: David Sewell                                    3109 W Dr Martin Luther King Jr Blvd   Suite 200                                                   Tampa                FL      33607-6260              11/01/2022 General Unsecured               $114,000.00       $114,000.00
         FIRST Insurance Funding, a Division of Lake Forest
  588    Bank & Trust Company, N.A.                               Attn: Janice West                                     450 Skokie Blvd                        Suite 1000                                                  Northbrook           IL      60062                   12/19/2022 Secured                       $1,675,119.78                        $1,675,119.78
                                                                                                                                                                                                                                                                                           General Unsecured
  186    Florida Department of Revenue, Bankruptcy Unit           Attn: Frederick F Rudzik, Esq                         PO Box 6668                                                                                        Tallahassee          FL      32314-6668              12/05/2022 Priority                         $81,672.65            $837.80                     $80,834.85
                                                                                                                                                                                                                                                                                           General Unsecured
                                                                                                                                                                                                                                                                                           Secured
  605    FONA International, Inc.                               c/o Baker Donelson, Bearman, Caldwell & Berkowitz, PC   Attn: Daniel Carrigan                  901 K Street NW                 Suite 900                   Washington           DC      20001                   12/19/2022 Administrative Priority         $899,203.95        $602,203.95      $297,000.00                              TBD
  169    FORVIS LLP [BKD LLP]                                                                                           910 E St Louis St                      Suite 400                                                   Springfield          MO      65806-2570              12/05/2022 General Unsecured               $122,039.00        $122,039.00
  275    Franchise Tax Board                                    c/o Bankruptcy Section MS A340                          PO Box 2952                                                                                        Sacramento           CA      95812-2952              12/12/2022 General Unsecured                     $0.00    To be determined
  127    Francis Massabki                                                                                               7330 Ocean Ter 1101                                                                                Miami Beach          FL      33141                   11/19/2022 Priority                          $1,831.85                                         $1,831.85
  312    Fusion Logistics Services, LLC                         Attn: E Luis Campano                                    PO Box 33080                                                                                       Lakeland             FL      33807                   12/15/2022 General Unsecured               $431,602.00       $431,602.00
         Gerson Lehrman Group, Inc. [GLG, Gerson Lehrman
  626    Group]                                                 c/o Legal Department                                    60 East 42nd Street                    3rd Floor                                                   New York             NY      10165                   12/19/2022 General Unsecured               $137,720.00        $137,720.00
  277    Giant Eagle, Inc.                                      Attn: Jeremy Darling                                    101 Kappa Dr                           RIDC Park                                                   Pittsburgh           PA      15238                   12/13/2022 General Unsecured                    $58.92             $58.92
  427    Gimmel Tammuz Realty (I-70 Industrial Center Denver) A c/o Dalfen Industrial LLC                               1970 Broadway                          Suite 700                                                   Oakland              CA      94612                   12/15/2022 General Unsecured               $212,588.78        $212,588.78
  350    Glen Raven Logistics, Inc.                             Attn: David M. Schilli                                  101 N Tryon St                         Suite 1900                                                  Charlotte            NC      28246                   12/15/2022 General Unsecured               $663,912.54        $663,912.54
  539    Gordon & Rees                                          Attn: Megan M. Adeyemo                                  2200 Ross Ave                          Suite 3700                                                  Dallas               TX      75201                   12/16/2022 General Unsecured             $3,927,445.68      $3,927,445.68
  356    Gorilla Marketing LLC                                  c/o The Frazer Firm, PA                                 Attn: Kent Frazer                      601 Heritage Dr                 Suite 220                   Jupiter              FL      33458                   12/16/2022 General Unsecured                     $0.00           unknown
                                                                                                                                                                                                                                                                                           General Unsecured
  561    Graphic Packaging International, LLC                     c/o Shumaker, Loop & Kendrick, LLP                    Attn: David Conaway                    101 S Tryon St                  Suite 2200                  Charlotte            NC      28280                   12/19/2022 Administrative Priority       $5,001,968.00      $4,935,395.00                                         $66,573.00
                                                                                                                                                                                                                                                                                                                                                                                                  565300 plus
  342    Great Northern Insurance Company                         c/o Duane Morris LLP                                  Attn: Wendy M. Simkulak                30 S 17th St                                                Philadelphia         PA      19103-4196              12/14/2022   Administrative Priority       $565,300.00                                                     additional amounts
  146    GreatAmerica Financial Services Corporation              Attn: Peggy Upton                                     PO Box 609                                                                                         Cedar Rapids         IA      52406                   11/23/2022   General Unsecured              $70,475.30         $70,475.30
  666    Green Mountain Energy Company                            Bankruptcy Department                                 PO Box 1046                                                                                        Houston              TX      77251                   12/21/2022   General Unsecured               $1,661.84          $1,661.84
  52     Green Wave Ingredients, Inc.                                                                                   13875 Cerritos Corporate Dr            Suite A                                                     Cerritos             CA      90703                   11/01/2022   General Unsecured           $1,358,520.12      $1,358,520.12
  75     Green Wave Ingredients, Inc.                                                                                   13875 Cerritos Corporate Dr            Suite A                                                     Cerritos             CA      90703                   10/18/2022   General Unsecured           $1,358,520.12      $1,358,520.12
                                                                                                                                                                                                                                                                                             General Unsecured
  550    Gregg Ginalick                                           Attn: Gregg Ginalick                                  330 Willow Run                                                                                     Prosper              TX      75078                   12/16/2022   Priority                       $56,278.04         $25,750.04                     $30,528.00
  658    Gregg Ginalick                                                                                                 330 Willow Run                                                                                     Prosper              TX      75078                   12/20/2022   Priority                       $56,278.04                                        $56,278.04
  148    Grosel Specialty Products                                Attn: Robert Zajec                                    330 Glasgow Drive                                                                                  Highland Heights     OH      44143                   11/26/2022   General Unsecured               $6,781.40          $6,781.40
  459    Hardrock Concrete Placement Co., Inc.                                                                          4839 W Brill St                                                                                    Phoenix              AZ      85043                   12/16/2022   Secured                       $669,195.67                         $669,195.67
  307    Herc Rentals Inc                                         Attn: Bankruptcy                                      27500 Riverview Center Blvd                                                                        Bonita Springs       FL      34134                   12/14/2022   General Unsecured               $7,033.90          $7,033.90
  84     IBT West, LLC dba Magnum Industrial Distributors         Attn: John Kelly                                      4203 W Adams St                                                                                    Phoenix              AZ      85009                   11/09/2022   General Unsecured              $28,143.53         $28,143.53
  630    Icon Owner Pool 1 LA Non-Business Parks, LLC             c/o Singer & Levick, PC                               Attn: Michelle E. Shriro               16200 Addison Rod               Suite 140                   Addison              TX      75001                   12/19/2022   Secured                        $31,087.05                          $31,087.05
  156    Idaho State Tax Commission                               Attn: Kellie Mingo                                    PO Box 36                                                                                          Boise                ID      83722                   11/30/2022   Priority                          $221.21                                          $221.21
         Industrial Physics Beverage & Canning, Inc. [CMC
  103    Kuhnke, Inc.]                                            Attn: Heather Crawford, Accounts Receivable           40 McCullough Dr                                                                                   New Castle           DE      19720                   11/14/2022   General Unsecured              $20,944.50        $20,944.50
  662    Inmar - YouTech LLC                                      c/o Davis & Jones, LLC                                Attn: Patrick R. Thesing               2521 Brown Blvd                                             Arlington            TX      76006                   12/21/2022   General Unsecured              $28,137.68        $28,137.68
  126    Inovar Packaging Florida                                 Attn: Jarvis Garcia                                   4061 SW 47th Ave                                                                                   Davie                FL      33314-4023              11/18/2022   General Unsecured             $789,402.00       $789,402.00
  49     Instrumentation and Controls                                                                                   6829 W Frye Rd                                                                                     Chandler             AZ      85226-3307              10/31/2022   General Unsecured               $2,988.79         $2,988.79
  674    Integrated Masonry                                       c/o Radix Law                                         15205 N Kierland Blvd                  Suite 200                                                   Scottsdale           AZ      85254                   12/28/2022   Secured                       $145,637.00                         $145,637.00
                                                                                                                                                                                                                                                                                             General Unsecured
  250    Internal Revenue Service                                 Attn: Daisy Montanez                                  City View Plaza II                     48 Carr 165                     Suite 2000                  Guaynabo             PR      00968-8000              12/08/2022   Priority                      $112,352.50         $15,087.93                     $97,264.57
                                                                                                                                                                                                                                                                                             General Unsecured
  161    Internal Revenue Service                                                                                       PO Box 7346                                                                                        Philadelphia         PA      19101-7346              12/01/2022   Priority                      $112,352.50         $15,087.93                     $97,264.57
  583    Inventus, LLC [Legility, LLC]                            c/o Consilio LLC                                      1828 L Street NW                       Suite 1070                                                  Washington           DC      20036                   12/19/2022   General Unsecured           $1,274,116.47      $1,274,116.47
                                                                                                                                                                                                                                                                                             General Unsecured
   4     Iowa Department of Revenue                               Office of the Attorney General of Iowa                Attn: Bankruptcy Unit                  1305 E Walnut                                               Des Moines           IA      50319                   10/18/2022   Priority                          $832.69             $17.58                       $815.11
  280    J Robbin Law PLLC                                        Attn: Jonathan Robbin                                 200 Business Park Dr                   Suite 103                                                   Armonk               NY      10504                   12/13/2022   General Unsecured              $10,440.00         $10,440.00
                                                                                                                                                                                                                                                                                             General Unsecured
  263    James D. Fuzi                                                                                                  7177 West Bajada Rd                                                                                Peoria               AZ      85383                   12/09/2022   Priority                       $39,120.00         $23,620.00                     $15,500.00
  641    Jason Briggs Osborne                                                                                           3236 W Huntington Dr                                                                               Phoenix              AZ      85041                   12/19/2022   General Unsecured                   $0.00          220.000.00
  259    Jason Schnaible                                                                                                3529 Meadowbrook Dr                                                                                Napa                 CA      94558                   12/09/2022   Priority                       $48,500.00                                        $48,500.00
  618    Jobete Music Co. Inc.                                    Attn: David Przygoda                                  25 Madison Ave                         26th Floor                                                  New York             NY      10010-8601              12/19/2022   General Unsecured             $300,000.00       $300,000.00
  639    John H. Owoc                                             c/o Genovese Joblove & Battista, PA                   Attn: Paul J. Battista                 100 SE 2nd St                   44th Floor                  Miami                FL      33131                   12/19/2022   General Unsecured                   $0.00       See Attached
  260    Johnson Controls Fire Protection LP [Simplex Grinnell]                                                         10405 Crosspoint Blvd                                                                              Indianapolis         IN      46256                   12/09/2022   General Unsecured                 $964.30           $964.30
  261    Jonathan Mckey Milling                                   c/o Milling Law Firm, LLC                             2910 Devine Street                                                                                 Columbia             SC      29205                   12/09/2022   General Unsecured               $6,015.00         $6,015.00
  139    Joshua Griffin                                                                                                 189 Cr 428                                                                                         Lorena               TX      76655                   11/22/2022   General Unsecured              $42,250.00        $42,250.00
  591    Jump Foods, LLC                                          c/o Cline Williams Wright Johnson & Oldfather, LLP    Attn: John F. Zimmer, V                233 S 13 St                     Suite 1900                  Lincoln              NE      68508                   12/19/2022   General Unsecured              $25,000.00        $25,000.00
  659    Jump Foods, LLC                                          c/o Cline Williams Wright Johnson & Oldfather, LLP    Attn: John F. Zimmer, V                233 S 13 St                     Suite 1900                  Lincoln              NE      68508                   12/20/2022   General Unsecured              $25,000.00        $25,000.00



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                           Page 4 of 7
                                                                                                                   Case 22-17842-PDR                                                 Doc 590                    Filed 12/30/22                                Page 12 of 14
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 Claim                                                                                                                                                                                                                                                                                                                                       General                                          Administrative
  No.                                Name                                                      Attention                             Address 1                           Address 2                      Address 3                 City        State     Zip      Country    Date Filed    Amount Class(es)          Total Amount            Unsecured             Secured        Priority       Priority
  132 Karly V. Grillo                                                                                               170 Amsterdam Ave                       Apt 7E                                                        New York           NY     10023                    11/21/2022 Priority                           $5,000.00                                             $5,000.00
  123 Kerry, Inc.                                                                                                   3400 Millington Rd                                                                                    Beloit             WI     53511                    11/18/2022 General Unsecured                 $21,562.36              $21,562.36
  206 Ketone Labs, LLC                                               Attn: Michael Perry                            901 Sam Rayburn Hwy                                                                                   Melissa            TX     75454                    12/07/2022 General Unsecured                 $34,400.00              $34,400.00
                                                                                                                                                                                                                                                                                        General Unsecured
  152   Khalsa Transportation Inc                                                                                   13371 S Fowler Ave                                                                                    Selma              CA    93662                     11/28/2022 Priority                        $521,714.98              $506,564.98                     $15,150.00
  125   Kim & Chang                                                                                                 Jeongdong Building                      17F 21-15 Jeongdong-gil        Jung-Gu                        Seoul                    04518      South Korea    11/21/2022 General Unsecured                $34,017.34               $34,017.34
  59    KJ Can (Singapore) Pte. Ltd.                                 c/o Squire Patton Boggs (US) LLP               Attn: Kelly Singer                      2325 E Camelback Rd            Suite 700                      Phoenix            AZ    85016                     11/03/2022 General Unsecured             $2,598,161.51            $2,598,161.51
  55    Knight Transportation Services, Inc.                         Attn: Trisha Lucci                             20002 N 19th Ave                                                                                      Phoenix            AZ    85027-4250                11/03/2022 General Unsecured                $99,972.00               $99,972.00
  544   Knoxville Beverage Co., Inc                                  Attn: Michael Craig                            310 Radford Place                                                                                     Knoxville          TN    37917                     12/16/2022 General Unsecured                $64,000.00               $64,000.00
                                                                                                                                                                                                                                                                                        General Unsecured
  254   KP Properties of Ohio,LLC                                    Attn: Susan Knust                              11300 Longwater Chase Ct                                                                              Fort Myers         FL    33908                     12/08/2022 Priority                          $5,987.95                 $2,637.95                     $3,350.00
                                                                                                                                                                                                                                                                                        General Unsecured
  285   Krier Foods, LLC                                             c/o Frost Brown Todd LLP                       Attn: Kim Martin Lewis                  3300 Great American Tower                                     Cincinnati         OH    45202                     12/13/2022 Administrative Priority         $588,197.28              $577,005.78                                       $11,191.50
  552   Krones, Inc.                                                 c/o Foley & Lardner LLP                        Attn: Matthew D. Lee                    150 E Gilman St                Suite 5000                     Madison            WI    53703                     12/19/2022 General Unsecured             $2,411,958.31            $2,411,958.31
  70    Kuckelman Torline Kirkland, Inc. [KTK]                       Attn: Michael T Crabb                          10740 Nall Ave                          Suite 250                                                     Overland Park      KS    66211                     11/08/2022 General Unsecured               $129,188.45              $129,188.45
  557   LaFace Records LLC                                           Attn: Wade Leak, Esq                           25 Madison Ave                          22nd Floor                                                    New York           NY    10010                     12/18/2022 General Unsecured               $300,000.00              $300,000.00
  129   Laurits R Christensen Associates Inc                         Attn: Edee Zukowski                            800 University Bay Dr                   Suite 400                                                     Madison            WI    53705-2299                11/21/2022 General Unsecured                 $3,171.00                $3,171.00
  634   Litigation Services and Technologies of California LLC       Attn: Ted Kent                                 3960 Howard Hughes Pkwy                 Suite 700                                                     Las Vegas          NV    89169                     12/19/2022 General Unsecured                $18,565.03               $18,565.03
  133   LMR Auto Transport Brokerage Inc.                                                                           4395 Amsterdam St                                                                                     N Charleston       SC    29418-5921                11/21/2022 General Unsecured                $54,400.00               $54,400.00
  558   Lone Star Business Association Coop                          Attn: Emily Wall                               900 Jackson St                          Suite 570                                                     Dallas             TX    75202                     12/19/2022 Administrative Priority          $16,161.25                                                                $16,161.25
  661   Maldonado Leal Servicios De Apoio Empresaria L Lida          Attn: Gisela Maldonado                         Av. Paulista, 1765                                                                                    Ed. Scarpa         SP    CJ 121     Brazil         12/20/2022 General Unsecured                 $8,700.00                $8,700.00
  303   Maldonado Leal Serviços de Apoio Empresarial Ltda.           Attn: Gisela Cesar Maldonado                   Avenida Paulista, 1765 CJ 121                                                                         Sao Paulo          SP    01311-930 Brazil          12/14/2022 General Unsecured                 $8,700.00                $8,700.00
  167   Marc J. Kesten                                                                                              9220 NW 72nd St                                                                                       Parkland           FL    33067                     12/02/2022 General Unsecured            $25,000,000.00           $25,000,000.00
  200   Marc J. Kesten v. VPX & Owoc                                 Attn: Marc J. Kesten, Esq.                     9220 NW 72nd St                                                                                       Parkland           FL    33067                     12/06/2022 General Unsecured            $25,000,000.00           $25,000,000.00
  80    Marriott Riverside at the Convention Center                  Attn: Alvaro Fraile                            Azul Hospitality Group                  800 W Ivy St                                                  San Diego          CA    92101                     11/08/2022 General Unsecured               $190,355.33              $190,355.33
  154   Massimo Zanetti Beverage USA                                 c/o Greenspoon Marder, LLP                     Attn: Michael R. Bakst, Esq.            525 Okeechobee Blvd            Suite 900                      West Palm Beach    FL    33401                     11/29/2022 General Unsecured               $100,000.00              $100,000.00
  168   Matt Tomlinson                                                                                              3003 Eastern Ave                                                                                      Baltimore          MD    21224                     12/02/2022 General Unsecured                $15,000.00               $15,000.00
                                                                                                                                                                                                                                                                                        General Unsecured
  274   Matthew B. Wolov                                                                                            4710 Pin Oaks Cir                                                                                     Rockwall           TX    75032                     12/12/2022 Priority                         $55,200.00               $40,050.00                     $15,150.00
  256   Matthew Lotterman                                                                                           2713 N Kenmore                          Unit 3                                                        Chicago            IL    60614                     12/08/2022 Priority                         $15,000.00                                              $15,000.00
  255   Matthiesen, Wickert & Lehrer S. C.                           Attn: Meghan Henthorne & Matthew T. Fricker    1111 E Sumner St                                                                                      Hartford           WI    53027                     12/08/2022 Administrative Priority          $30,714.30                                                                $30,714.30
                                                                                                                                                                                                                                                                                        General Unsecured
  479   MDV SpartanNash LLC                                          c/o Warner Norcross + Judd LLP                 Attn: Stephen B. Grow                   150 Ottawa Ave NW              Suite 1500                     Grand Rapids       MI    49503                     12/16/2022 Administrative Priority          $41,854.46               $25,214.02                                       $16,640.44
  348   MEI Rigging & Crating, LLC dba Dunkel Bros                   Attn: Christina Uitz                           PO Box 1630                                                                                           Albany             OR    97321                     12/15/2022 Secured                          $69,443.65                                $69,443.65
  669   MEI Rigging & Crating, LLC dba Dunkel Bros                   Christina Uitz                                 PO Box 1630                                                                                           Albany             OR    97321                     12/27/2022 Secured                          $69,443.65                                $69,443.65
  23    Mike Meserve                                                                                                116 Wallace Ave                                                                                       South Portland     ME    04106                     10/26/2022 General Unsecured                $15,795.00               $15,795.00
  58    Milk Specialties                                             c/o Coface North America Insurance Company     Attn: Amy Schmidt                       650 College Road E             Suite 2005                     Princeton          NJ    08540                     11/03/2022 General Unsecured               $102,765.00              $102,765.00
  210   Miner, LTD                                                   c/o Miner Corporation                          Attn: Ricardo Garcia                    11827 Tech Com Rd              Suite 115                      San Antonio        TX    78233                     12/07/2022 General Unsecured                $18,575.25               $18,575.25
                                                                                                                                                                                                                                                                                        General Unsecured
  194   Mississippi Department of Revenue                            Attn: Bankruptcy Section                       PO Box 22808                                                                                          Jackson            MS    39225-2808                12/06/2022 Priority                            $656.00                  $131.00                       $525.00
        Mitsubishi HC Capital America, Inc. [Hitachi Capital
  17    America Corp.]                                               c/o Kye Law Group, P.C.                        201 Old Country Rd                      Suite 120                                                     Melville           NY    11747                     10/25/2022   Secured                     $2,410,772.40                              $2,410,772.40
  101   Mix3 Sound Inc.                                              Attn: Maria Ferlito                            16405 NW 8th Ave                                                                                      Miami Gardens      FL    33169                     11/11/2022   General Unsecured               $1,000.00                $1,000.00
   7    MMR Strategy Group                                           Attn: Cheryl Jaffe                             16501 Ventura Blvd                      Suite 601                                                     Encino             CA    91367                     10/20/2022   General Unsecured              $17,500.00               $17,500.00
  187   Molly Maid of Colorado Springs                                                                              1925 Dominion Way                       Suite 104                                                     Colorado Springs   CO    80918                     11/22/2022   General Unsecured               $2,504.00                $2,504.00
                                                                                                                                                                                                                                                                                          General Unsecured
   29   Monster Energy Company                                       Attn: Aaron Sonnhalter                         1 Monster Way                                                                                         Corona             CA    92879                     10/26/2022   Administrative Priority   $389,739,257.35          $389,739,257.35                                     Undetermined
                                                                                                                                                                                                                                                                                          General Unsecured
  610   Monster Energy Company                                       Attn: Aaron Sonnhalter                         1 Monster Way                                                                                         Corona             CA    92879                     12/19/2022   Administrative Priority             $0.00 Not less than 389797257.35                                   Undetermined
  71    Moore Rabinowitz Law, P.A.                                   Attn: Adam Rabinowitz, Esquire                 1776 N Pine Island Rd                   Suite 102                                                     Plantation         FL    33322                     11/08/2022   General Unsecured              $19,815.50                 $19,815.50
  283   MSC Industrial Supply Company                                                                               515 Broadhollow Rd                      Suite 1000                                                    Melville           NY    11747                     12/12/2022   General Unsecured                 $881.87                    $881.87
  94    Naumann Hobbs Material Handling Corp II Inc                  Attn: David M. Michlich                        4335 E Wood St                                                                                        Phoenix            AZ    85040                     11/10/2022   General Unsecured              $19,579.84                 $19,579.84
        Naumann Hobbs Material Handling Corp II Inc
  92    [Southwest Battery]                                          Attn: David M. Michlich                        4335 E Wood St                                                                                        Phoenix            AZ    85040                     11/10/2022 General Unsecured                     $0.00                      Blank
  665   Navigators Insurance Company                                 c/o Hartford Fire Insurance Company            Attn: Bankruptcy Unit                   HO2-R                          Home Office                    Hartford           CT    06155                     12/21/2022 General Unsecured                     $0.00    Contingent/Unliquidated
        Nelson Mullins Riley & Scarborough, LLP (including
  632   through its predecessor in Florida Broad and Cassel)         Attn: Scott D. Knapp and Frank P. Terzo        100 SE 3rd Ave                          Suite 2700                                                    Fort Lauderdale    FL    33394                     12/19/2022 General Unsecured             $1,668,106.30            $1,668,106.30
  257   Nevada Power d/b/a NV Energy                                 Attn: Candace R. Harriman                      PO Box 10100                                                                                          Reno               NV    89520                     12/08/2022 General Unsecured                   $592.14                  $592.14
  164   Nordson Corporation                                                                                         300 Nordson Dr                                                                                        Amherst            OH    44001                     12/01/2022 General Unsecured                $15,359.13               $15,359.13
  83    North Star Marketing, Inc                                    Attn: Sam Zerilli                              1580 Wilderness Trail                                                                                 Eagle River        WI    54521                     11/09/2022 General Unsecured                $18,508.54               $18,508.54
                                                                                                                                                                                                                                                                                        General Unsecured
  153   Ohio Department of Taxation                                  Attn: Bankruptcy Division                      PO Box 530                                                                                            Columbus           OH    43216                     11/29/2022 Priority                         $69,562.12               $21,617.67                     $47,944.45
                                                                                                                                                                                                                                                                                        General Unsecured
   10   Orange Bang, Inc.                                            Attn: Richard Stein                            13115 Telfair Ave                                                                                     Sylmar             CA    91342                     10/25/2022 Administrative Priority      $87,500,000.00           $87,500,000.00                                     Undetermined

  67    Organic Bottle Decorating Company dba Zion Packaging Attn: Gary Martin                                      575 Alcoa Cir Suite B                                                                                 Corona             CA    92878-9203                11/07/2022 General Unsecured                $30,198.96               $30,198.96
  589   Packaging Equipment Inc.                             c/o Thompson Hine LLP                                  Attn: Sean A. Gordon                    Two Alliance Center            3560 Lenox Rd NE, Suite 1600   Atlanta            GA    30326                     12/19/2022 General Unsecured                $14,520.00               $14,520.00
  592   Packaging Equipment, Inc.                            c/o Thompson Hine LLP                                  Attn: Sean A. Gordon                    Two Alliance Center            3560 Lenox Rd NE, Suite 1600   Atlanta            GA    30326                     12/19/2022 General Unsecured                $14,520.00               $14,520.00
                                                                                                                                                                                                                                                                                        General Unsecured
  351   Patrick McMahon                                                                                             4367 55th Ave                                                                                         Bettendorf         IA    52722                     12/15/2022 Priority                         $49,940.00               $34,790.00                     $15,150.00
  147   Peak Activity, LLC                                           Attn: Justin Bennett and Andy Boyland          1880 N Congress Ave                     Suite 210                                                     Boynton Beach      FL    33426                     11/25/2022 General Unsecured               $670,177.00              $670,177.00
  595   PepsiCo, Inc.                                                c/o FrankGecker LLP                            Attn: Joseph D. Frank                   1327 W Washington Blvd         Suite 5 G-H                    Chicago            IL    60607                     12/19/2022 General Unsecured           $115,000,000.00          $115,000,000.00
  38    Pepsi-Cola Bottling Co. of Luverne, Inc.                     Attn: Andrew Smith                             PO Box 226                                                                                            Luverne            AL    36049                     10/27/2022 General Unsecured                 $5,952.00                $5,952.00
        Peter Fischer, individually, and on behalf of a nationwide
  86    class of similarly-situated consumers                        c/o Harvath Law Group, LLC                     Attn: Daniel Harvath, Esq.              75 W Lockwood                  Suite 1                        Webster Groves     MO    63119                     11/09/2022   General Unsecured         $401,000,000.00          $401,000,000.00
  20    Peter Kent Consulting, LLC                                   Attn: Peter Kent                               404 Locust St                                                                                         Denver             CO    80220                     10/25/2022   General Unsecured              $48,939.00               $48,939.00
  602   Pettit Kohn Ingrassia Lutz & Dolin, PC                       c/o Rossway Swan Tierney Barry & Oliver, PL    Attn: Thomas W. Tierney, Esq.           2101 Indian River Blvd         Suite 200                      Vero Beach         FL    32960                     12/19/2022   General Unsecured             $273,641.54              $273,641.54
  667   Pettit Kohn Ingrassia Lutz & Dolin, PC                       c/o Rossway Swan Tierney Barry & Oliver, PL    Attn: Thomas W. Tierney, Esq.           2101 Indian River Blvd         Suite 200                      Vero Beach         FL    32960                     12/27/2022   General Unsecured             $280,563.64              $280,563.64
  366   PolyGram Publishing, Inc.                                    Attn: JoAn Cho                                 222 Colorado Ave                                                                                      Santa Monica       CA    90404                     12/16/2022   General Unsecured           $2,450,000.00            $2,450,000.00
  110   Portland Bottling Company                                                                                   16800 SE Evelyn St                      Suite 120                                                     Clackamas          OR    97015                     11/16/2022   General Unsecured               $2,052.00                $2,052.00
  599   Premier Distributing Company                                 Attn: Alan Markey                              4321 Yale Blvd NE                                                                                     Albuquerque        NM    87107                     12/19/2022   General Unsecured             $832,000.00              $832,000.00
  590   Premium Beverage Company                                     c/o ArentFox Schiff LLP                        Attn: Annie Y. Stoops                   555 W Fifth St                 48th Floor                     Los Angeles        CA    90013                     12/19/2022   General Unsecured                   $0.00               Unliquidated
  22    Presence From Innovation, LLC                                Attn: Jennifer McArtor                         4847 Park 370 Blvd                                                                                    Hazelwood          MO    63042                     10/26/2022   General Unsecured              $79,127.22               $79,127.22
  546   Priority-1, Inc.                                             Attn: Chris Michaels, General Counsel          1800 E Roosevelt Rd                                                                                   Little Rock        AR    72206-2516                12/16/2022   General Unsecured           $1,402,737.96            $1,402,737.96
  170   Professional Store Services                                  Attn: Philip Harrington                        PO Box 96                                                                                             New Waverly        TX    77358                     12/02/2022   General Unsecured               $2,113.00                $2,113.00
  157   Public Service Company d/b/a Xcel Energy                     c/o Bankruptcy Department                      Attn: Katie A. Miller                   PO Box 9477                                                   Minneapolis        MN    55484                     11/30/2022   General Unsecured                 $630.80                  $630.80
  563   Quarles & Brady LLP                                          Attn: Christopher Combest                      300 N LaSalle St                        Suite 4000                                                    Chicago            IL    60654                     12/19/2022   General Unsecured           $1,417,934.25            $1,417,934.25
  645   R&L Carriers, Inc.                                                                                          600 Gilliam Rd                                                                                        Willmington        OH    45177                     12/19/2022   General Unsecured              $43,102.20               $43,102.20
  136   R+L Truckload Services, LLC                                  Attn: T Moncada                                315 NE 14th St                                                                                        Ocala              FL    34470                     11/04/2022   General Unsecured              $22,201.33               $22,201.33
  565   Records Label, LLC                                           Attn: Wade Leak                                25 Madison Ave                          22nd Floor                                                    New York           NY    10010                     12/18/2022   General Unsecured             $700,000.00              $700,000.00
  553   Refresco Benelux b.v.                                        c/o Holland & Knight LLP                       Attn: W. Keith Fendrick                 100 N Tampa St                 Suite 4100                     Tampa              FL    33602                     12/18/2022   General Unsecured              $10,891.14               $10,891.14
  569   Refresco Beverages US Inc [Cott Beverages Inc]               c/o Holland & Knight LLP                       Attn: W Keith Fendrick, Esq             100 N Tampa St                 Suite 4100                     Tampa              FL    33602                     12/19/2022   General Unsecured              $34,464.52               $34,464.52
  571   Refresco Beverages US Inc. [Cott Beverages Inc.]             c/o Holland & Knight LLP                       Attn: William Keith Fendrick            100 N Tampa St                 Suite 4100                     Tampa              FL    33602                     12/19/2022   General Unsecured           $9,654,634.00            $9,654,634.00
  570   Refresco Canada Inc.                                         c/o Holland & Knight LLP                       Attn: W. Keith Fendrick                 100 N Tampa St                 Suite 4100                     Tampa              FL    33602                     12/19/2022   General Unsecured              $58,941.47               $58,941.47

  165   Refreshment Services, Inc [Refreshment Services Pepsi]       Attn: Joey Szerletich                          3400 Solar Ave                                                                                        Springfield        IL    62707                     12/01/2022   General Unsecured               $1,689.02                $1,689.02
  51    Resource Label Group, LLC                                    Accounting                                     13260 Moore St                                                                                        Cerritos           CA    90703                     10/31/2022   General Unsecured             $145,337.23              $145,337.23
  522   Ring Container Technologies, LLC                             c/o Glankler Brown                             Attn: Bill Bradley, Ricky L. Hutchens   6000 Poplar Ave                Suite 400                      Memphis            TN    38002                     12/16/2022   General Unsecured             $476,470.00              $476,470.00
  551   RM Mechanical, Inc                                           Attn: Scott Magnuson                           5998 W Gowen Rd                                                                                       Boise              ID    83709                     12/16/2022   Secured                       $918,548.57                               $918,548.57
  63    Rosenberg Consulting Services, Inc. [RCS]                    c/o Kohner, Mann & Kailas, S.C.                Attn: Samuel C. Wisotzkey               4650 N Port Washington Rd.                                    Milwaukee          WI    53212                     11/04/2022   General Unsecured             $622,017.74              $622,017.74
  318   RXO Capacity Solutions, LLC [f/k/a XPO Logistics, LLC]       c/o Holland & Knight LLP                       Attn: Edward Fitzgerald Esq             200 S Orange Ave               Suite 2600                     Orlando            FL    32801                     12/14/2022   General Unsecured           $1,940,016.10            $1,940,016.10
  189   Santander Consumer USA                                                                                      PO Box 961275                                                                                         Fort Worth         TX    76161-1245                12/06/2022   Secured                        $12,158.95                                $12,158.95
        Santander Consumer USA [Santander Consumer USA
  251   Inc., an Illinois corporation d/b/a Chrysler Capital]                                                       PO Box 961275                                                                                         Fort Worth         TX    76161-1245                12/08/2022 Secured                          $12,158.95                                $12,158.95
        Santander Consumer USA [Santander Consumer USA
  252   Inc., an Illinois corporation d/b/a Chrysler Capital]                                                       PO Box 961275                                                                                         Fort Worth         TX    76161-1245                12/08/2022 Secured                          $11,897.24                                $11,897.24
        Santander Consumer USA Inc [Santander Consumer
  191   USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                                  PO Box 961275                                                                                         Fort Worth         TX    76161                     12/06/2022 Secured                          $11,694.91                                $11,694.91



In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                             Page 5 of 7
                                                                                                                           Case 22-17842-PDR                                                      Doc 590                    Filed 12/30/22                               Page 13 of 14
                                                                                                                                                                                                   Claims Register as of 12/30/2022
                                                                                                                                                                                                            Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                                          General                                       Administrative
  No.                               Name                                                        Attention                                     Address 1                               Address 2                      Address 3                City      State       Zip      Country   Date Filed     Amount Class(es)       Total Amount      Unsecured            Secured      Priority       Priority
         Santander Consumer USA Inc. [Santander Consumer
  193    USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                                         PO Box 961275                                                                                           Fort Worth          TX      76161                   12/06/2022 Secured                        $10,546.54                        $10,546.54
         Santander Consumer USA Inc., an Illinois corporation
  268    d/b/a Chrysler Capital.                                                                                            PO Box 961275                                                                                           Fort Worth          TX      76161-1245              12/12/2022 Secured                        $11,694.91                        $11,694.91
         Santander Consumer USA Inc., an Illinois corporation
  269    d/b/a Chrysler Capital.                                                                                            PO Box 961275                                                                                           Fort Worth          TX      76161-1245              12/12/2022 Secured                        $10,546.54                        $10,546.54
                                                                                                                                                                                                                                                                                                   General Unsecured
  13     Scotlynn USA Division Inc.                                   Attn: Nicole Tracey                                   9597 Gulf Research Ln                                                                                   Fort Myers          FL      33912-4552              10/24/2022 Administrative Priority       $185,206.00          $92,603.00                                    $92,603.00
  262    Scott Laboratories, Inc.                                     Attn: Christy Bongardt                                1480 Cader Ln                                                                                           Petaluma            CA      94954-5644              12/09/2022 General Unsecured              $57,087.57          $57,087.57
  580    Securitas Security Services USA, Inc.                        c/o WOC Business Services Dept                        4330 Park Terrace Dr                                                                                    Westlake Village    CA      91361                   12/19/2022 General Unsecured               $1,732.56           $1,732.56
  650    Seko Worldwide LLC                                           c/o Bankruptcy Claims Administrative Services, LLC    84 Herbert Ave                               Building B                     Suite 202                   Closter             NJ      07624                   12/19/2022 General Unsecured             $214,416.00         $214,416.00
  672    Shanghai Freeman Lifescience Co., Ltd.                                                                                                                                                                                                                                         12/28/2022 General Unsecured             $609,924.00         $609,924.00
  39     Shanghai Freemen Americas LLC                                                                                      2035 RT 27                                   Suite 3005                                                 Edison              NJ      08817                   10/28/2022 General Unsecured             $609,924.00         $609,924.00
  635    Shelburne Sherr Court Reporters                              Attn: Sharon Sherr-Remy                               PO Box 25                                                                                               Del Mar             CA      92014                   12/19/2022 General Unsecured               $7,614.32           $7,614.32
  521    Sidel Blowing & Services SAS                                 Attn: Wayne Bradley                                   1201 W Peachtree St NW                       Suite 3150                                                 Atlanta             GA      30309                   12/16/2022 General Unsecured             $704,629.90         $704,629.90
  138    Sigma,Aldrich, Inc [MilliporeSigma]                          Attn: Toni Turner                                     3050 Spruce St                                                                                          St Louis            MO      63103                   11/08/2022 General Unsecured               $5,530.18           $5,530.18
  629    Silver Eagle Beverages, LLC                                  c/o Langley & Banack, Inc.                            Attn: Natalie F. Wilson                      745 E Mulberry                 Suite 700                   San Antonio         TX      78212                   12/19/2022 General Unsecured             $642,237.00         $642,237.00
  631    Silver Eagle Beverages, LLC                                  c/o Langley & Banack, Inc.                            Attn: Natalie F. Wilson                      745 E Mulberry                 Suite 700                   San Antonio         TX      78212                   12/19/2022 General Unsecured              $41,516.80          $41,516.80
  18     Skip Shapiro Enterprises, LLC                                Attn: Skip Shapiro                                    318 Hawthorn St                                                                                         New Bedford         MA      02740                   10/25/2022 General Unsecured             $193,450.40         $193,450.40
  496    SLBS Limited Partnership d/b/a Summit Distributing           c/o Carlton Fields                                    Attn: David L. Gay                           700 NW 1st Ave                 Suite 1200                  Miami               FL      33136                   12/16/2022 General Unsecured          $10,020,910.84      $10,020,910.84
  367    Songs of Universal, Inc.                                     Attn: JoAn Cho                                        222 Colorado Ave                                                                                        Santa Monica        CA      90404                   12/16/2022 General Unsecured           $3,825,000.00       $3,825,000.00
  568    Sony Music Entertainment                                     Attn: Wade Leak                                       25 Madison Ave                               22nd Floor                                                 New York            NY      10010                   12/18/2022 General Unsecured          $31,000,000.00      $31,000,000.00
  564    Sony Music Entertainment US Latin LLC                        Attn: Wade Leak, Esq.                                 25 Madison Ave                               22nd Floor                                                 New York            NY      10010                   12/18/2022 General Unsecured           $1,550,000.00       $1,550,000.00
  619    Sony Music Publishing (US) LLC                               Attn: David Przygoda                                  25 Madison Ave                               26th Floor                                                 New York            NY      10010-8601              12/19/2022 General Unsecured           $7,400,000.00       $7,400,000.00
         Southeast Cold Fill, LLC [Carolina Canners, Inc, NoSo
  134    Holdings, LLC]                                               c/o Kelley Fulton Kaplan & Eller PL                   Attn: Craig I. Kelley, Esq.                  1665 Palm Beach Lakes Blvd     The Forum, Suite 1000       West Palm Beach     FL      33401                   11/21/2022 General Unsecured         $309,652,418.47     $309,652,418.47
  93     Southwest Battery Company                                    Attn: David M. Michlich                               4335 E Wood St                                                                                          Phoenix             AZ      85040                   11/10/2022 General Unsecured              $37,045.57          $37,045.57
         Spectrum [Charter Communications, Time Warner Cable,
   96    Brighthouse Networks]                                        Attn: Siobhan K McEneany                              1600 Dublin Rd                                                                                          Columbus            OH      43215                   11/10/2022 General Unsecured                $317.74              $317.74
                                                                                                                            Attn: Amanda B Chiilds, Chief Litigation &
  535    Speedway LLC                                                 c/o 7-Eleven, Inc.                                    Investigation Counsel                        3200 Hackberry Rd                                          Irving              TX      75063                   12/16/2022 General Unsecured             $899,030.29         $899,030.29
                                                                                                                                                                                                                                                                                                   General Unsecured
  76     Staples, Inc                                                 Attn: Tom Riggleman                                   7 Technology Cir                                                                                        Columbia            SC      29203                   10/18/2022 Administrative Priority        $13,395.28          $13,080.75                                       $314.53
  158    Statco Engineering & Fabricators, Inc                                                                              7595 Reynolds Circle                                                                                    Huntington Beach    CA      92647                   11/30/2022 General Unsecured              $51,505.28          $51,505.28
                                                                                                                                                                                                                                                                                                   General Unsecured
  95     State of Alabama, Department of Revenue                      Attn: Legal Division                                  PO Box 320001                                                                                           Montgomery          AL      36132-0001              11/10/2022 Priority                       $45,634.90           $4,078.52                 $41,556.38
  66     State of Minnesota, Department of Revenue                                                                          PO Box 64447 - BKY                                                                                      St Paul             MN      55164-0447              11/07/2022 Priority                        $1,746.00                                      $1,746.00
  137    State of Minnesota, Department of Revenue                                                                          PO Box 64447 - BKY                                                                                      St Paul             MN      55164-0447              11/08/2022 Priority                        $1,746.00                                      $1,746.00
                                                                                                                                                                                                                                                                                                   General Unsecured
  278    State of Nevada Department of Taxation                                                                             700 E Warm Springs Rd                        Suite 200                                                  Las Vegas           NV      89119                   12/13/2022 Priority                       $19,136.82           $1,495.24                 $17,641.58
         State of New Jersey Division of Taxation Bankruptcy
  313    Section                                                                                                            PO Box 245                                                                                              Trenton             NJ      08695-0245              12/14/2022 Priority                       $33,355.86                                     $33,355.86
  483    Stellar Group Incorporated                                   c/o Agentis PLLC                                      Attn: Robert P. Charbonneau                  55 Alhambra Plaza              Suite 800                   Coral Gables        FL      33134                   12/16/2022 General Unsecured          $20,215,753.63      $20,215,753.63
                                                                                                                                                                                                                                                                                                   General Unsecured
  292    Stephanie Suddarth                                                                                                 2026 Artemis Ct                                                                                         Allen               TX      75013                   12/14/2022 Priority                       $24,000.00           $8,850.00                 $15,150.00
  25     Stephen Miller                                               Attn: David Moritz                                    15431 SW 14th St                                                                                        Davie               FL      33326                   10/26/2022 General Unsecured              $50,927.39          $50,927.39
   8     Steven Douglas Associates LLC                                Attn: Shari Gottlieb                                  1301 International Pkwy                      Suite 510                                                  Sunrise             FL      33323                   10/20/2022 General Unsecured             $472,907.68         $472,907.68
                                                                                                                                                                                                                                                                                                   General Unsecured
  141    Steven Kunz                                                                                                        1466 E Glacier Place                                                                                    Chandler            AZ      85249                   11/22/2022 Priority                       $22,182.07           $1,182.07                 $21,000.00
  622    Stone Diamond Music Corp.                                    Attn: David Przygoda                                  25 Madison Ave                               26th Floor                                                 New York            NY      10010-8601              12/19/2022 General Unsecured             $150,000.00         $150,000.00
                                                                                                                            Attn: Amy M. Leitch, Esq. & Aleksas A.
  607    Suddath Global Logistics, LLC                                c/o Akerman, LLP                                      Barauskas, Esq.                              50 N Laura St                  Suite 3100                  Jacksonville        FL      32202                   12/19/2022   General Unsecured           $608,476.53         $608,476.53
  660    Sunbelt Rentals Inc                                                                                                2015 Directors Row                                                                                      Orlando             FL      32809                   12/20/2022   General Unsecured           $115,896.60         $115,896.60
  184    Takasago International Corp (USA)                            Attn: Joseph Mortara                                  4 Volvo Dr                                                                                              Rockleigh           NJ      07647                   12/05/2022   General Unsecured           $116,592.04         $116,592.04
  298    Target Corporation                                                                                                 7000 Target Parkway                          NCF-0403                                                   Brooklyn Park       MN      55445                   12/14/2022   General Unsecured           $433,662.68         $433,662.68
  203    Taro Patch Holdings LLC                                      c/o Aronoff Law Group                                 Attn: Robert C. Aronoff                      9100 Wilshire Blvd             710 East Tower              Beverly Hills       CA      90212                   12/07/2022   General Unsecured             $8,303.47           $8,303.47
  30     The American Bottling Company                                Attn: Russ Falconer                                   2001 Ross Ave                                Suite 2100                                                 Dallas              TX      75201                   10/26/2022   General Unsecured       $225,100,000.00   225100000 plus ICF
  297    The Cansultants, LLC                                         Attn: John E Adams                                    6895 Counselors Way                                                                                     Alpharetta          GA      30005                   12/14/2022   General Unsecured            $92,064.00          $92,064.00
  50     The Hamilton Group (Delaware) Inc.                           c/o Ullman & Ullman PA                                Attn: Michael W. Ullman                      2500 N Military Trail          Suite 100                   Boca Raton          FL      33431                   10/31/2022   General Unsecured           $189,784.35         $189,784.35
  15     The Hamilton Group (Delaware), Inc.                          c/o Ullman & Ullman PA                                Attn: Michael W. Ullman & Jared A. Ullman    2500 N Military Trail          Suite 100                   Boca Raton          FL      33431                   10/24/2022   General Unsecured           $189,784.35         $189,784.35
  41     The Hamilton Group (Delaware), Inc.                          c/o Ullman & Ullman PA                                Attn: Michael Ullman                         2500 N Military Trail          Suite 100                   Boca Raton          FL      33431                   10/28/2022   General Unsecured           $189,784.35         $189,784.35
         The Kleppin Firm P.A. [The Kleppin Law Firm, Glasser
  488    and Kleppin, P.A.]                                           Attn: Chris Kleppin                                   8751 W Broward Blvd                          Suite 105                                                  Plantation          FL      33324                   12/16/2022 General Unsecured           $2,000,000.00       $2,000,000.00
  490    The Kleppin Law Firm P.A.                                    Attn: Chris Kleppin                                   8751 W Broward Blvd                          Suite 105                                                  Plantation          FL      33324                   12/16/2022 General Unsecured           $1,200,000.00       $1,200,000.00
                                                                                                                                                                                                                                                                                                   General Unsecured
  300    The Kroger Co.                                               c/o Frost Brown Todd LLP                              Attn: A.J. Webb                              3300 Great American Tower      301 E 4th St                Cincinnati          OH      45202                   12/14/2022 Administrative Priority       $686,223.45         $631,962.99                                    $54,260.46
  188    think4D [Friesens Corporation]                                                                                     Box 556                                                                                                 Pembina             ND      58271                   12/05/2022 General Unsecured               $5,000.00           $5,000.00
  647    Todd King                                                                                                          23009 SE 14th St                                                                                        Sammamish           WA      98075-9339              12/19/2022 General Unsecured              $18,290.25          $18,290.25
  287    Todd W Herrett                                                                                                     21514 Caribbean Ln                                                                                      Panama City Beach   FL      32413                   12/13/2022 General Unsecured              $24,960.00          $24,960.00
  145    TOMCO2 Systems Company                                       Attn: Deborah L Nelson                                1609 W County Road 42                        Suite 393                                                  Burnsville          MN      55306                   11/23/2022 General Unsecured             $451,514.42         $451,514.42

  673    TOMRA of North America, Inc [Returnable Services LLC] Attn: Eric J. Jepeal                                         One Corporate Dr                             Suite 710                                                  Shelton             CT      06484                   12/28/2022 General Unsecured              $17,468.12          $17,468.12
  79     Total Compliance Network, Inc. TCN                    Attn: Morgan T Silver                                        5646 West Atlantic Blvd                                                                                 Margate             FL      33063                   11/08/2022 General Unsecured                 $300.00             $300.00
                                                                                                                                                                                                                                                                                                   General Unsecured
  308    Total Quality Logistics, LLC [TQL]                           Attn: Joseph B. Wells, Corporate Counsel              4289 Ivy Pointe Blvd                                                                                    Cincinnati          OH      45245                   12/14/2022 Secured                       $898,861.80         $883,873.93    $14,987.87
  159    Transportation Management Solutions, Inc [TMS]               Attn: Phil Magill                                     18450 Pines Blvd                             Suite 203                                                  Pembroke Pines      FL      33029                   11/30/2022 General Unsecured              $54,907.00          $54,907.00
  143    TricorBraun Inc                                                                                                    6 Cityplace Drive                            Suite 1000                                                 St. Louis           MO      63141                   11/22/2022 General Unsecured              $73,450.33          $73,450.33
  43     Twin City Security                                           Attn: Accounting                                      105 S Garfield St                            Suite 100                                                  Cambridge           MN      55008                   10/31/2022 General Unsecured              $44,866.23          $44,866.23
  98     U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance            c/o U.S. Bank Equipment Finance                       Attn: Jeffrey J Lothert                      1310 Madrid St                                             Marshall            MN      56258                   11/11/2022 General Unsecured              $41,688.94          $41,688.94
                                                                                                                                                                                                                                                                                                   General Unsecured
  668    U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance            c/o U.S. Bank Equipment Finance                       Attn: Jeffrey J Lothert                      1310 Madrid St                                             Marshall            MN      56258                   12/23/2022 Secured                        $41,688.94           $1,788.94    $39,900.00
                                                                                                                                                                                                                                                                                                   General Unsecured
  77     Uline                                                                                                              12575 Uline Dr                                                                                          Pleasant Prairie    WI      53158                   10/25/2022 Administrative Priority        $31,164.24          $26,700.91                                     $4,463.33
  636    Ultra Air Cargo Inc                                          Attn: Darren Pao                                      17256 S Main St                                                                                         Gardena             CA      90248                   12/19/2022 General Unsecured                 $250.00             $250.00
  457    UMG Recordings, Inc.                                         Attn: JoAn Cho                                        222 Colorado Ave                                                                                        Santa Monica        CA      90404                   12/16/2022 General Unsecured           $6,950,000.00       $6,950,000.00
  462    Universal Music - MGB NA LLC                                 Attn: JoAn Cho                                        222 Colorado Ave                                                                                        Santa Monica        CA      90404                   12/16/2022 General Unsecured             $150,000.00         $150,000.00
  463    Universal Music - Z Tunes LLC                                Attn: JoAn Cho                                        222 Colorado Ave                                                                                        Santa Monica        CA      90404                   12/16/2022 General Unsecured           $1,800,000.00       $1,800,000.00
  465    Universal Music Corp.                                        Attn: JoAn Cho                                        222 Colorado Ave                                                                                        Santa Monica        CA      90404                   12/16/2022 General Unsecured           $5,975,000.00       $5,975,000.00
  478    Universal Musica, Inc.                                       Attn: JoAn Cho, Esq.                                  222 Colorado Ave                                                                                        Santa Monica        CA      90404                   12/16/2022 General Unsecured             $700,000.00         $700,000.00
  294    Updike Distribution Logistics                                c/o Finance Department                                435 S 59th Ave                               Suite 100                                                  Phoenix             AZ      85043                   12/14/2022 General Unsecured              $83,492.16          $83,492.16
         Varni Brothers Corporation [VBC Bottling Dba Seven-Up
    2    Bottling Company]                                            Attn: Ray Morales                                     215 Hosmer Ave                                                                                          Modesto             CA      95351                   10/17/2022 General Unsecured             $873,125.12         $873,125.12
   37    Veritext, LLC [Veritext Legal Solutions]                     Attn: Judith Kunreuther                               290 W Mt. Pleasant Ave                       Suite 3200                                                 Livingston          NJ      07039                   10/27/2022 General Unsecured              $23,620.66          $23,620.66
         Verizon Business Global LLC, on behalf of its affiliates
         and subsidiaries [Cellco Partnership d/b/a Verizon
  249    Wireless]                                                    Attn: William M Vermette                              22001 Loudoun County Pkwy                                                                               Ashburn             VA      20147                   12/08/2022 General Unsecured              $27,625.60          $27,625.60
  124    Vermont Information Processing [VIP]                                                                               402 Water Tower Cir                                                                                     Colchester          VT      05446                   11/18/2022 General Unsecured              $14,949.53          $14,949.53
                                                                                                                                                                                                                                                                                                                                                                                                     565300 plus
  324    Vigilant Insurance Company                                   c/o Duane Morris LLP                                  Attn: Wendy M. Simkulak                      30 S 17th St                                               Philadelphia        PA      19103-4196              12/15/2022 Administrative Priority       $565,300.00                                                  additional amounts
  99     Vitacoat Corporation                                         Attn: Rajendra Desai                                  50 Romanelli Ave                                                                                        South Hackensack    NJ      07606                   11/11/2022 General Unsecured              $12,308.40          $12,308.40
  566    Volcano Entertainment III LLC                                Attn: Wade Leak                                       25 Madison Ave                               22nd Floor                                                 New York            NY      10010                   12/18/2022 General Unsecured             $200,000.00         $200,000.00
  120    Vortex Industries                                            Attn: Shannon Kane                                    20 Odyssey                                                                                              Irvine              CA      92618                   11/17/2022 General Unsecured                 $386.00             $386.00
  652    VS Carbonics, Inc.                                           Attn: Scott D. Lehman                                 121 Alhambra Plaza                           Suite 1500                                                 Coral Gables        FL      33134                   12/19/2022 General Unsecured             $328,000.00         $328,000.00
                                                                                                                                                                                                                                                                                                   General Unsecured
                                                                                                                                                                                                                                                                                                   Secured
   78    W.W. Grainger, Inc                                                                                                 401 S Wright Rd                                                                                         Janesville          WI      53546                   10/25/2022 Administrative Priority        $54,611.18          $23,929.91    $20,533.30                      $10,147.97




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                              Page 6 of 7
                                                                                                                   Case 22-17842-PDR                                           Doc 590                    Filed 12/30/22                                  Page 14 of 14
                                                                                                                                                                                Claims Register as of 12/30/2022
                                                                                                                                                                                         Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                    General                                   Administrative
  No.                                Name                                               Attention                                         Address 1                Address 2                      Address 3                City         State       Zip    Country   Date Filed    Amount Class(es)    Total Amount      Unsecured          Secured    Priority       Priority
                                                                                                                                                                                                                                                                                 General Unsecured
   19    WA Department of Revenue                               Attn: Andrew Garrett                                      2101 4th Ave                Suite 1400                                                 Seattle                WA      98121                 10/25/2022 Priority                  $286,995.77       $102,579.05              $184,416.72
         Warner Music Group "WMG" (as defined in the attached   Brad Cohen, Senior Vice President & Head of Litigation;
  601    rider)                                                 Matt Flott, EVP & CFO Recorded Music                      1633 Broadway                                                                          New York               NY      10019                 12/19/2022   General Unsecured    $24,650,000.00     $24,650,000.00
  291    Waste Management [WM Corporate Services INC]           Attn: Bankruptcy                                          PO Box 42930                                                                           Phoenix                AZ      85080                 12/14/2022   General Unsecured         $4,793.42          $4,793.42
   9     Werner Enterprises Inc                                                                                           39365 Treasury Crt                                                                     Chicago                IL      60694                 10/20/2022   General Unsecured        $46,002.00         $46,002.00
  72     White & Amundson, APC                                  Attn: Daniel M. White                                     402 W Broadway              Suite 1140                                                 San Diego              CA      92101                 11/08/2022   General Unsecured        $51,430.95         $51,430.95
  73     White & Amundson, APC                                  Attn: Daniel Macy White                                   402 W Broadway              Suite 1140                                                 San Diego              CA      92101                 11/08/2022   General Unsecured         $5,507.62          $5,507.62
  74     White & Amundson, APC                                  Attn: Daniel Macy White                                   402 W Broadway              Suite 1140                                                 San Diego              CA      92101                 11/08/2022   General Unsecured         $9,966.28          $9,966.28
  306    WM Recycle America, LLC                                Attn: Jacquolyn Hatfield-Mills                            800 Capital Street          Suite 3000                                                 Houston                TX      77002                 12/14/2022   General Unsecured       $182,748.90        $182,748.90
   1     XPO Logistics Freight, Inc.                            Attn: Bankruptcy Dept                                     9151 Boulevard 26           Bldg A                                                     North Richland Hills   TX      76180                 10/13/2022   General Unsecured        $14,879.18         $14,879.18
   6     XPO Logistics Freight, Inc.                            Attn: Bankruptcy Dept                                     9151 Boulevard 26           Bldg A                                                     North Richland Hills   TX      76180                 10/18/2022   General Unsecured        $14,879.18         $14,879.18
         Yellowstone Landscape Southeast, LLC [Yellowstone
  144    Landscape]                                                                                                       PO Box 849                                                                             Bunnell                FL      32110                 11/23/2022   General Unsecured        $37,676.60         $37,676.60
  314    YRC Inc. (dba YRC Freight) [Yellow Corporation]        c/o Frantz Ward LLP                                       Attn: John Kostelnik        200 Public Square              Suite 3000                  Cleveland              OH      44114                 12/14/2022   General Unsecured        $64,803.66         $64,803.66
  316    YRC Inc. (dba YRC Freight) [Yellow Corporation]        c/o Frantz Ward LLP                                       Attn: John Kostelnik        200 Public Square              Suite 3000                  Cleveland              OH      44114                 12/14/2022   General Unsecured       $246,228.40        $246,228.40
  560    Zomba Recording LLC                                    Attn: Wade Leak, Esq.                                     25 Madison Ave              22nd Floor                                                 New York               NY      10010                 12/18/2022   General Unsecured     $2,300,000.00      $2,300,000.00
  12     Zurich American Insurance                                                                                        PO Box 68549                                                                           Schaumburg             IL      60196                 10/24/2022   General Unsecured             $1.00              $1.00




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                   Page 7 of 7
